             Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 1 of 63
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Filing # 56662814 E-Filed 05119/2017 10:03:52 AM



                                                                IN THE CIRCUIT COURT OF THE
                                                                SECOND JUDICIAL CIRCUIT, IN
                                                                AND FOR LEON COUNTY, FLORIDA.

         LiONEL LEONARD and,                                    CASE NO              2017 CA001062
         BARBARA LEONARD,

                Plaintiffs                                      CIVI    DIVISION

         VS


         GEICO GENERAL INSURANCE COMPANY,

                Defendant.




                                                    COMPLAINT

                Plaintiffs. LIONEL LEONARD and BARBARA LEONARD, sue the Defendant, GEICO

         GENERAL INSURANCE COMPANY (hereinafter referred to as "Geico") and alleges:

                 1.     This is an action fbr damages in excess of $ 15,000.00. Venue and jurisdiction are

         vested in the Circuit Coult in and for Leon County,   Florida. Plaintiff demands   a   trial by jury.

                2.      The parties are:

                        a)   The Plaintiffs, Lionel Leonard and Barbara Leonard, are sui juris and reside in

         Leon County, Florida;

                        b)   Tlie Defendant, Geico Generai Insurance Company, is a foreign corporation

         registered to do business within the State   of Florida ancl doing substantial business within Leon

         County, Florida.

                3.      On or about February 21,2015. Plaintifl Lionel Leonard, was injured in a motor

         vehicle accicient in Leon County, Florida. A motor vehicle owned by Jet'f.ery Chambers, and being

         driven by Tiffany Hayes, failecl to yield the right of way when making a left turn on a solid green

         light and coiliciecl into the front driver-side area of Plaintiff s vehicle. Tiffany Hayes was found to
   Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 2 of 63
                                                                                  )




be at fault   fol the accident and was cited for failing to yield.

        4.        As a result Plaintiff, Lionel Leonard, suflèred bodily injury and resulting pain and

suffering, clisability, disfigurement, loss         of capacity for       enjoyment     of life, expense        of

hospitalization, medicai care and heatment, and possibly the aggravation of preexisting condition.

These losses are either permanent or continuing and Plaintiff           will suffer the losses in the future.

        5.        Plaintiff, Lionel Leonarcl, has suffered a permanent injury within a reasonable

degree of medical probability.




                                                 COUNT I
                                      Underíns ured Motorßt Cluim

        6.        Plaintiff realleges paragraphs l-7.

        7.        Prior to February 21,2A15, and at the time of the accident described above,

Lionel Leonard, was an insured with untlerinsured insurance coverage issued by the Defendant,

Geico General Insu'ance       Cornpany. The policy of          insurance is in the possession of Defendant,

Geico, and is incorporated herein by reference and as composite Exhibit               "4".
        L          On February 21, 2015, Tiffany Hayes, carried automohile liability                 insurance

coverage for bodily injury in the amount of     $   1   0,000.00. A copy of the declaration sheet for Tiffany

Hayes and Jeffery Chambers is attached hereto as Exhibit             "8". The insurance carrier for Tiffany
Hayes tendered their policy limits of     $ 10,000.00.


        9.         TitTany Hayes was an underinsured motorist under the provisions                      of   the

Defendant's policy of insurance.

        10.        Under the Geico policy, the Plaintiff is entitled to recover against the Defendant for

his injuries, damages, and losses set tbrth above, which were causecl by the negligence of the

driver, Tiffany Hayes.
   Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 3 of 63




          1   1.    The Plaintiff has notified the Defendant of his claim and has otherwise performed.

all conditions precedent to entitle her to ïecover under the policy.

          WHEREFORE, Plaintiff, Lionel Leonard, demands judgment for damages against the

Defendant, Geico, together with prejuclgment interest, the costs of this action and such other relief

as may be deemed        just ancl proper. Plaintiff demands trial by jury.

                                                    COUNT     II
                                                 Consortíum Chím

          The allegations in paragraphs      1   through 5 are hereby aclopted and incorporated to the

same force and effect as      if hereinafter set forth in full.

          12.      Plaintiff Barbara Leonard, is the wife of the Plaintifi Lionel Leonard. As a result

of the negligence of Lionel Leonard's negligence alleged herein above, said Plaintiff has suffered

the loss olcare, comfort, services and consortium from her husband due to his injuries alleged

hereinabove. Because the injuries sustained by Lionel Leonard ale permanent and continuing,

Barbara Leonard       will continue to suffer such losses into the indefinite   futur.e.

          WHEREFORE Plaintiff, Barbara Leonard, individually, demands judgment against the

Defendant, Geico General Insurance Compâny, for all clamages allowed by law, and further

demands trial by      jury on all issues so triable.


                                                   COUNT III
                                                    Ilctd Føith

          15.      Plaintiff, Lionel Leonard, adopts and realleges paragraphs 1-5 above.

          16.      No later than June 9"2016, Geico was provided notice of the accident described

herein.

          17.      At all times materials, Defendant, Geico, was authorized,to, and clid in fact,

adjust uninsured / underinsured motorist insurance claims in Florida.
   Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 4 of 63
                               I




        18.      Defènclant, Geico, after being notified that the tortfeasor had promptly tendered

its policy limits, and attel being provided with pertinent medical records and diagnostic films,

has not made any settlement offer and rejected    Plaintiff s offer to settle within policy limits.

        19.      Plaintiff submitted a Civil Remedy Notice of Insurer Violation form to Geico and

the Florida Department of Insurance Regulation.      A copy of the Civil Remedy Notice is attached

hereto as Exhibit "C".

       20.       The violation of the Defendant alleged in the   Civil Remedy Notice includes:

                  Section 624.155(l)(bxl) - Not attempting in good faith to settle claims when,
                  under all the circumstances, it could and should have done so, had it acted fairly
                  and honestly toward its insured and with due regard for her or his interests.

                  Section 626.9541(lXiX3Xd) - Denying ciaims without conducting reasonable
                  investigations based upon available information.




       21.       The Defendant, Geico, failed to tender all available benefits within the statutory

cure period.

       22.     Baseci upon Geico's bad-faith conduct,   Plaintiff is entitled [o recover the total

amount of all damages awarded by the jury, including the amount of the verdict in excess of the

policy limits, interest on unpaid benefiis, along with reasonable attorney's fees and costs.
       -WFIEREFORE,
                           Plaintifi's, Lionei Leonarci and Barbara Leonard, demand judgment against

Geico General Insurance Company for all compensatory damages, interest, costs, attomey's fees,

and such other relief as may be deemed just and proper.
                  -')
Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 5 of 63




                         BROOKS, LeBOEUF, BENNETT'
                          FOSTER & G\ryARTNEY, P.A.



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                         909     Park Avenue
                         Tallahassee,FL 32301
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                         Secondary email: Rebecca@tallahasseeattorneys.com
                         Attorney for Plaintifis
Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 6 of 63




                                       ((
                      EXT{IBIT              A))
Case 4:17-cv-00285-MW-CAS
                    )
                          Document 1-3 Filed 06/23/17 Page 7 of 63




    CERTIFIED COVER SHEET
 Claim Number:    4A17285790101529           Date Of Loss   2t21/2015
 Adjuster:        JO51 L
 Policyholder:    LIONEL L LEONARD AND
                  BARBARA P LEONARD
 Policy Number:   0176589604




 Policy Term Start Ðate: 1211'2A14
 Company: GEICO General lnsurance Company




  K. DOSÏER       Date Requested: AU 1 412A1 6
                  Date Processed: 06/1 B/2016
Case 4:17-cv-00285-MW-CAS
                   )
                          Document 1-3 Filed 06/23/17 Page 8 of 63
                                                  I
Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 9 of 63



       REGION 6 UNDERWRITING RESPONSE TO CLAIMS
                REQUEST FOR F.S" 627.4137
                   COPY OF THE POLICY

 The Policy Declarations sheet has been electronically fonvarded to Claims for
 Claim Number 0A17285790101529, Pollcy Number 0176589604, and issued
 to LIONEL L LEONARÐ ANÐ BARBARA P LEONARD based upon records in
 our computer data in our files and was in effect on the date of loss
 42121t2015.
 The policy contract, amendments and endorsements, also electronically
 forwarded to Claims, are standard forms with information particular to Policy
 Number 0176589604 and issued to LIONEL L LEONARÐ AND BARBARA P
 LEONARÐ and was in effect the date of loss 0A21nO15.



 K. DOSTËR
 Underuriting Department
Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 10 of 63
                  Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 11 of 63




      G¡EICCL
       g€lteEr.GcttTt
                                                       Tet:   1   -800-841 -3000                                               Declarations Page
                                                                                                                                   This is ã descr¡ption of your ooverage.
                                                                                                                                       Please retain for your records.
      GEICO GENERAL INSURANCE COMPANY
      One GEICO Cerìter                                                                                                 Policy Number: 01 76.58-96-04
      Macon, GA 31295-0001
                                                                                                                        Coverage Period:
      Date lssued: October 28,2014
                                                                                                                        12-ü-1 4 through 06-01                -1 5
                                                                                                                        12:01 a.n. local time atthe address of the named insured



      LIONEL L LEONARD AND BARBARA P
      LEONARD
      PO BOX'12181
      TALLAHASSEE FL 32317-21                     81



      Erna¡l Address: ll.leonârd@comcâst.net

      Named lnsured                                                                                Addltional Drivqrs
      Lionel L Leonard                                                                              None
      Barbara P Leonard

      Vehicles                                          VIN                                        Vehicle Location                          Finance Companv/
                                                                                                                                             t.ienholder
      1 2009   Lexs                  ES   350           JTH8J46G492291717 Tallahassee FL 32308                                               Vystar Cu
      2 2014   Toyota                Tundra             5TFRM5F11AX011025 Tallahassee FL 32308                                               Campus Usa Cu

      Coveraoes*                                                               Limits and/or Deductibles                                 Vehicle      1                  Vehicle    2


      Bodily lnjury Liability
      Each Person/Each Occurrence                                                       $300,000/$300,000                                      $71.40                         $91.70
      Propefty Damage Liability                                                                $100,000                                        $42.10                         $61.50
      Personal lnjury Protection                                                        Non-Ded/lnsd&Rel                                       $24.00                         $27.20
      Additional Personat I njury Protection                                             2ts/o lt[ed/2ïo/o Wl                                    ct   Â,n
                                                                                                                                                                               $2,80
      Urrinsured MotorisUNonstacked
      Each Person/Each Occurrence                                                                                                              $65.60                         $65.60
                                                                                        9-qg9,999i999?:99-q
      Comprehensive                                                                          $250 Ded                                          $49.50                         $47.40
      Collision                                                                                $250 Ded                                      $110.50                         $116.90
      Emergeilcy Road Service                                                                      Full                                          $4.00                          $3.60
      Rental Reimbursement                                                         .... ..........$90. P_eI D.qy.   .
                                                                                                                                               $12.40                         $12.4û
                                                                                              $1500 Max

      9ix Month Premiurn Per Vehicie                                                                                                         $3t2.0É                         S429.lt
      Total Six Month              P¡.emium                                                                                                                                  $811.10
      "Coverage applies where a premium or $0.00 is shown for a vehicle.
@
6:
cc
      lf you elecl to pay your premium in installments, you may be subject io an additional fee for each installment. The fee
cl    amount will be shown on your billing statements and is subject to change.
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ct\   T-C                                                                                                                                                            Continued on Back
O
O     DEC_PAGE    (1 1-'1 f   )   (Page 1 of 2)                                                                                                             New Policy Page     I of 42
a
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            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 12 of 63




Diçcounts

The total value of your discounts ¡s                                                                                 $291.60
  Seatbelt (All Vehicles) .............,,..                                                                        ,.....$6.20
  Multi-Car (All Vehicles)............ .... .......                                                                ..$157.20
  Anti-Lock Brakes (All Vehicles) . ,....,,. .,                                                                     ...$24.40
  Anti-Theft Device (Veh 1)                                                                                        ......$s.00
  5 Year Good Driving (All Vehicles) ,. ....,.                                                                     . ..$75.50
  Passive Restraint/Air Bag (Atl Vehicles)..                                                                       ....$23.30


Contract Type: A30FL. FAMILY AUTO INSURANCE POLICY
contract Amendmênts: ALL VEHICLES - A30FL(03-1 1) 454 FL(02-1 3)             FLP lP(01 -1 3)

Un¡t   Endorsements:              4115 (04-08)(VEH 1,2);4239 (02-13)(VEH 1,2);R+¡t (05-11)
                                  (VEH 1,2); UE316F (07-11XVEH 1,2)

 Counlersigned by Authorized Representalive
                                                                           øeM
                                                  lmportant Policy lnformation
 -lf you hâve any questions about this policy, about the insurance services we offer, or if you need assistânce resolving
 a complaint please contact GÊlCO at 1-800-841-3000. We cân assist you with your personal insurance needs.
 -Congratulationsl You have earned the free Accident Forgiveness benefit. That means we will waive the surcharge
 associâted with the first at-fault accident caused by an eliglble drlver on your policy.
 -Please revlew the front ând/or þack of this page for your coverage and discount information.
 -Re minder - Physical damage coverâge     will not cover loss for custom options on an owned automob¡le, including
 eguipment, furnishings or finishings including paint, if the existence of those optlons has not been previously reported to
 ns. This reminder does NOT apply in VIRGINIA and NORTH CAROLINA. Please call us at 1-800-841-30û0 or visit us
 at geico.com if you have any questions.
 -ïn¡s pol¡cy ¡ncludes an emergency assessment for the Florida Hurricane Catastrophe Fund in the amount         of   $1   0,54.
 This assessrnent has been mandated by the Florida State Board of Adrninistration. The state has required that this
 assessment be collected directly from policyholders.
 -Any person who knowingly and with intent to ¡njure, defraud or deceive any insured, files a statement of claim or ân
 appl¡cation containing any false, incomplete or misleading informâtion is guilty of a felony in the thlrd degree. GEICO
 asks that you suppot't us in the bâttle agâinst insurance fraud by reporting any suspicious activities t+ GEICO at (8Ce)
 824-5404 x3313 or the National lnsurance Crime Bureau (NICB) (E00) TËL-NICB orwrnrw.nicb.org. Your call isfree.
 Your call can be anonymous. You cûuld be eligible for a reward,
 -Confirmation of coverage has þeen sent to your lienholder arìd/or additionâl insured.




DEC_PAGE (11-1   1)   (Page   2of 2)                                                                    New Policy Page 1 0 of 42
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 13 of 63




                              G¡EIEct
                              ONE GEICO PLAZA
                              Washington, D. C. 20076-0001
                              Telephone: 1 -800-841 -3000




                              Florida
                              Family
                              Automobile
                              lnsu,F€rnce
                              Policy



                          o




A-30Ft (03-1   1   )
             Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 14 of 63



                                                    YOUR POLICY INDEX
                                                          Page                                                                 Page
SEGT¡ON I - Liability Coverages                                     Exclusions: When The Physical Damage
Your Protection Against Claims From Others                            Coverages Do Not Apply..:........                           14
                                                                    Limit Of Liability                                            14
Definitions                                                   J     Other lnsurance. ---..-......-                                15
Losses We WillPay For You......^.,....                              Conditions........                                            4Â
Additional Payments We Wilt Make Under                                  Notice
  The Liability Coverages...                                  4         Assistance And Cooperation Of The lnsured
    Legal Ëxpenses And Court Costs                                      Action Against Us
    Bail And Appeal Bonds                                               lnsured's Duties ln Event Of Loss
    First Aid Expenses                                                  Appraisal
Exclusions: When Section I Does Not Apply ........".          4         Payment Of Loss
Persons lnsured: Who ts Covered                                         No Benefit To Bailee
                                                              Ã
Financial Responsibility Laws ....                                      Subrogation
                                                              F
Out of State Coverage ....-..........                                   Assignment
                                                              F
Limits Of Liability
Other lnsurance....... -..-.".                                5
                                                                    SECTION lV - Uninsured Motorists Coverage
Conditions                                                    5
                                                                    Your Protection For lnjuries Gaused By
    Notice
    Assistance And Cooperation Of The lnsured                       Uninsured And l-lit-And-Run Motorists ,............. 16
    Action Against Us                                               SECTION V - General Conditions
    Subrogation                                                     The Following Apply To All Coverages ln This Policy
SECTION ll - Personal lnjury Protection Coverage                    Territory - Policy Period        ....."--............, 16
                                                                    Premiurn......                  . ....., ...... 6             '1

Personal lnjury Protection (Part l)......                     b     Changes......                                       16
Definitions..                                     o                 Assignment.                     .................. 17
Payments We WillMake ..........                   7                 Cancellation By The Ìnsured......-.          ...... 17
Exclusions                                        Õ
                                                                    Cancellation By Us...-....,.     .................. 17
Limits Of Liability; Application Of Deductible;                     Cancellation By Us ls Limited...-..... ....................... 17
  Other lnsurance.....-.........                                    Renewal........ -                                               A1
                                                                                                                                    lt
Pol icy Period; Territory                         I                 Non Renewal                                                     18
Conditions                                        Y                 Mediation Of Claims....                                         1B
     Notice                                                         Other lnsurance.."...,...-,-.                                   1B
     Action Against The Company                                     Action Against Us,......... ...,.                               18
     Proof Of Claim; Medioal Reports and                            Dividend Provision .......                                ,. .. 1B
        Examinaiions; Payment of Claim WÍthheld                     Declarations.......                                       ..... 18
     Reimbursement And Subrogation                                  Fraud And Misrepresentation .,..,....,,.. -. -. -..........-... 1  I
     Special Provisions For Rented Or Leased Vehicles               Examination Under        Oath..-...--....               .-.... 18
Modification CIf Policy Coverages (Part lli        ^.."    .- ¡u    Terms Of Policy Conformed To Statutes ...............18
Provisional Premium (Part lll),                               tt,   Choice of Law......-......-                                 ... 18
Automobile Medical Payments Coverage
(Part lV)                                                     10    SECTION Vl       -   Amendments A,nd Endorsements
SECTION ll! - Physical Damage Coverages                             Special Endorsement
Your Protection For Loss Of Or Darnage To Your Gar                  United States Government Employees ........... ...... 19
Definitions...                                                12
Losses We Will Pay-........   ...             ,............ 13
     Comprehensive(Excludrng Collision) ...,.. .. ..... 13
     Çollisior:                           .......,.........   14
Additional Payments We Will Make Under The
  Physical Darnage Coverages            ......... 14
Car Rental lf Your Car ls Stolen         ........ 14




A-30F1 (O3-1 1 )
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 15 of 63



Whenever "he," "his," "him," or "himself" appears in this policy, you may read "she," "her," "hers," or "herself."

                                                        AGREEMENT
We, the Company named in the declarations attached to this policy, make this agreement with you , the
policyholder. Relying on the information you have furnished and the declarations attached to this policy and if
you pay your premium when due, we will do the following:

                                             SECTION I . LIAB¡LITY COVERAGÊS
                                      Bodily lnjury Liability And Property Ðamage Liability
                                          Your Protection Against Glaims From Others

DEFINIT¡ONS
The words bolded and italicized in Section I of this policy are defined below.
1. Auto business means the business of selling, repairing, servicing, storing, transporting or parking of autos.
Z. Eodily injury means bodily injury to a person, caused by accident, including resulting sickness, disease or death. All
    claims for damages arising from bodily injury to a person from a single loss shall be considered one bodily injury.
3. Farm auto means a truck type vehicle with a gross vehicle weight of 15,000 pounds or less, not used for commercial
     purposes other than farming.
4.    lnsured means a person or organization described under PER$ONS INSURED.
5.    Non-awned,aufo means a private passengêr, farm or utility aufo or trailer not owned by, furnished or available
     for regular use of either you or your relative, other than a temporary substiúufe auto. An auto rented or leased tor
     more than 30 days will be considered as furnished or available for regular use.
6.   Owned aufo means:
     (a) A vehicle described in this policy for which a premium charge is shown for these roverages;
     (b) A trailer owned by you',
     (c) A privafe passenger, farm or utility auúo, ownership of which.you acquire during the policy period or for which
          you enter into a lease during the policy period for a term of six months or more, if
         (i)   lt replaces an owned auto as defined in (ai above; or
          (ii) We insure all private passenger, farm and utility autos owned by you on the date of the acquisition, and
               you ask us to add it to the policy no more than 30 days later;
     {d) A temporary substitute auto.
7.   Private passenger aufo means a four-wheel private passenger, staiion wagon or jeep-type auto, including a farm or
     utility auto as defined.
8.   Relative means a person related lo you by blood, marriage or adoption (including a ward or foster child) who is a
     resident of the sarne household as you.
S.   Temporary suðsfr'fute a¿¡fo means a private passenger, farm ar utilíty auto or trailer, not owned by you or your
     relative, temporarily used wÍth the permrssion of the owner This vehicle must be used as a substitute for the owned
      auto or fralTer when withdrawn from normal use because of its breakdown, repair, servicing, loss or destruction. This
      vehicle will no longer qualify as a temporary substitute auto:
      (a) Five (5) days afier the owned aufo is deemed by us to be a total loss, and
      (b) We pay the applicable limit ol liability under Section lll.
14. Trailer means a vehicle designed to be towed by a private passenger auto. lf the vehicle is being used for business
      or commercial purposes, it is a traiter onlywhile used with a privøte passênger, farm or utility aufc. Iraileralscr
      means a farrn wagon or farm implemeni used with a farm aute.
î,1,. Utíli$t auto means a vehicle, other than a farm aufc¡, with gross veh¡cle weight of 1 5,00u pounds or less of the
      pick-up body, van or panel truck type not used for commercial purposes.
12. War means armed confiict between nat¡ons, whether or not declared, civil war, insurrection, rebeliion or revolution.
13. Yo¿J and your means the named insured shown in the declaraiions or his or her spouse if a resident of the same
      household.
LOSSES WE WILL PAY FOR YOU
Under Section I, we will pay damages which an insured becomes legally obligated to pay because of.
1.    tsodily injury, sustained by a person, and


A-30F1 {03-1   1   )   Page 3 of 19
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 16 of 63


2.   Damage to or destruction of property,
arising out of the ownership, maintenance or use of the owned auto or a naÍr-owned auto     .



We will defend any suit for damages payable under the terms of this policy. We may investigate and settle any claim or
suit. We have no duty to investigate or defend any claims which are not covered under the terms of this policy. Our duty
to defend ends when the limits of tiability for bodity injury liability have been exhausted by payments of judgments or
settlements.
ADDITIONAL PAYMENTS WE WILL MAKE UNDER THE LIABILITY COVERAGES
1.   All investigative and legal costs incurred by us.
2.   lnterest calculated on that part of a judgment that is within our limit of liability and accruing:
     (a) Before the judgment, where owed by law, and until we pay, offer to pay, or deposit in court the amount due under
          this coverage;
     (b) After the judgment, and until we pay, offer to pay, or deposit in court, the amount due under this coverage.
3.   Premiums for appeal bonds in a suit we appeal, or premiums for bonds to release attachments; but the face amount
     of these bonds may not exceed the applicable timit of our liability.
4.   We will upon reguest by an insured, provide reimbursement for lhe following items:
     (a) Costs incurred by any insured for first aid to others at the time of an accident involving an owned auto or
         non-owned auto.
     (b) Loss of earnings up to $50 a day, but not other income, if we reguest an ínsured to attend hearings and trials.
     (c) All reasonable costs incurred by an insured at our request.
     (d) Premiums for bail bonds paid by an insured due to traffìc law violaiions aris¡ng out of the use of an owned auto,
        not to exceed $250 per Þail bond.
EXCLUSIONS
Section I Does Not Apply:
1. To any bodily injury to any insured or relative of an insured's family residing in the insuredþ household.
   This exclusion does not apply if the insured or relative of the insured is injured as a passenger in a motor vehicle
   insured under this policy while that vehicle is being driven by a person who is nat a relative, nor you.
2. To any vehicle used to carry passengers or goods for hÌre. However, a vehicle used in an ordinary car pool on a ride
   sharing or cost sharing basis is covered.
3. To liability coverage for any person who intentionally causes bodily injury or property darnage.
4  To bodily injury or property damage that is insured under a nuciear liability policy. This exclusion applies even if the
   limits of that policy are exhausted.
5. To bodily injury or property damage arising from the operation of farm machinery.
8. Ta bodlly injury lo an employee of an insured arising out of and in the course of employment by an insured.
   However, bodily injury of a domesiic employee of the ínsured is covered unless benefits are payable or are
   required to be provided under a workmen's compensation law.
7. To bodily injury lo a fellow employee of an insured (other than you) injured in the course of his employment if the
   badily injury arises from the use of an auto in the business of his emptoyer, and if benefits are payable under a
   workmen's compensation policy.
8. To an owned auto while used by a person (other than you ar a relative ar vour or your relative's partner, agent or
   employee) when he is employed or otherwise engaged in the auto åusiness.
S, To a non-owned auto while maintained or used by a person while he is employed or otherwise engaged in any aufo
     Þusiness.
     However, coverage does apply to a non-owned private pas,senger a{rto used by you, yoar chauffeur or a domestic
     servant, while engaged in the business of an insured.
10   To damage
     (a) To property owned, or iransported by an insured; or
     (b) To property rented to or in charge of an insured. This exclusion does not apply to a residence or private garage.
1 1. To an auto acquired by you during the policy term, if you have purchased other liability ¡nsurance for ¡t.

12. To'.
     (a) The United States of America or any of its agencies;
     (b) Any person, including you, rf proteciion is afforded under the provisions of the Federal Tort Claims Act.
f 3. To any tiability assumed under any contract or agreement.
14. To bodily injury or property damage caused by the insured in participation and/or preparation for any racing,
     speed, or demolition contest or stunting activity of any nature, whether or not prearranged or organized.
A-30F1 (03-1   1   )   Page 4 of 19
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 17 of 63


15. To punitive or exemplary damages, regardless of any other provision of this policy.
PERSONS INSUREÐ
Who ts Covered
Section I applies to the foltowing as insureds with regard to an owned auto.
     1. You',
     ?. Any other person using the auto with your permission to the extent of thai permission;
     3. Any other person or organization for his or its liability because of acts or omissions of an insured under 1. or 2.
         above.
Section I applies to the following as ínsureds with regarcl ta a non-owned auto'.
      1. You and your relatives when driving the non-owned auto. Such use must be with the permission, or
           reasonably believed to be with the permission, of the owner and to the extent of that permission.
      2. A person or organization, not owning or hiring the auto, regarding his or its liability because of acts or omissions
           of an insuredunder 1. above.
The limits of liaÞitity stated in the declarations are our maximum obligations regardless of the number of insureds
involved in the occurrence.
FINANCIAL RESPONSIBILITY LAWS
When this policy is certified as proof of compliance with the Florida financial responsibrlity law for the future, this liability
insuranoe will comply with the provisions of that law.
OUT OF STATE COVERAGE
When the policy applies to the operation of a motor vehicle outside of yaur state, we agree to increase yo{rr coverages
to the extent required of out-of-state motorists by local law. We will not provide Bodily lnjury Liability Coverage under this
provision if that coverage is not purchased and shown in the policy declarations. This additional coverage will be reduced
to the extent that yo{, are protected by another insurance policy. No person can be paid more than once for any item of
loss.
LIMITS OF LIABILITY
Regardless of the number of autos or trailers to which this policy applies:
1. The limit of bodily injury liability stated in the declarations as applicable to "each person" is the limit of our liability for
      all damages, including damages for care and loss of services, because af bodily injury sustained by one person as
      the result of one occurrence.
2. The limit of such liability stated in the declarations as applicable to "each occurrence" is, subject to the above
      provision respecting each person, the total limit of our liability for all such damages, including damages for care and
      loss of services, because oi bodily injury sustained by two or more persons as the result of any one occurrence.
3. The limit of property damage liability stated in the declarations as applicable to "each occurrence" is the total limit of
      our liability for all damages because of damage to or destruction of the property of one or more persons or
      organizations, including the loss of use of the property as the result of any one occurrence.
4. lf this poticy covers two or more autos, the L|MITS OF LIABILITY apply separately to each. An auto and attached
      traíler are considered to be one auto.
OTHER INSURANCE
Any insurance we provide for losses arising out of the ownership, maintenance or use of a vehicle you do not own shall
be excess over any other valicl ancJ collectible insurance.
 lf the ínsrrred has other applicable insurance agaÌnst a loss covered by Seciion I of this policy, we will not owe more than
our pro-rata share of the total coverage available.
CONDITIONS
The following condiiions apply to Section l.
1.   NOTICË
     As soon as possible after an occurrence, written notrce must be given us or our authorized agent stating:
     (a) The identity of the insured;
     (b) The time, place and details of the occurrence;
     (c) The names and addresses of the injured, and of any witnesses, and
     (d) The names of the owners and the description and location of any damaged property.
     lf a claim or suit is brought against an insured, he must promptly send us each demand, noiice, summons or other
     process received.
2.   ASSISTANCE AND COOPERATION OF THE
                                                      'A'SUREÐ
     The insured will cooperate and assist us, if requested
A-3ûFL (O3-1   1)   Page 5 of 19
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 18 of 63


     (a) ln the investigation of the occurrence,
     (b) ln making settlements;
     (c) ln the conduct of suits;
     (d) ln enforcing any right of contribution or indernnity against any legally responsible,person or organization because
         aÎ bodìly injury or property damage;
     (e) At trials and hearings.
     (f) ln secunng and giving evidence; and
     (S) By obtaining the attendance of witnesses.
     Only at his own cost will the insured make a payment, assume any obligation or incur any cost other than for first aid
     to others.
3.   ACTION AGAINST US
     No suit will lie against us:
     (a) Unless the insured has fully comptied with all the policy's terms and conditions, and
     (b) Until the amount of the insured'sobligation to pay has been finally determined, either:
          (i) By a ñnaljudgment against the insured after actual trial; or
          (ii) By written agreement of the ínsured, the claimant and us.
     A person or organization or the legal representative of either, who secures a judgment or written agreement, may
     then sue to recover up to the policy limits.
     No person ororganization, including the insured, has a right underthis policy to make us a defendant in an action to
     determine the insured's liability.
     Bankruptcy or insolvency of the ins.rred or of his estate will not relieve us of our obligations.
4.   SUBROGATION
     When payrnent is made under this policy, we will be subrogated to all the insured's rights of recovery against others
     The insured will help us to enforce these rights. The rnsured will do nothing after loss to prejudice these rights.
     This means we will have the right to sue for or otherwÌse recover the loss from anyone else who may be held
     responsible.
     When a person has been paid damages by us under this policy and also recovers from another, that person shall:
     (a) Hold in trust for us the amount recovered; and
     (b) Reimburse us io the extent of our payment.
    SEGTION ll: PART I'PERSONAL ¡NJURY PROTECTION AND PART IV-AUTOMOBILE MEÐlcAL PAYMENTS
(Automobile Medical Payments Coverage applies only if a premium amount is shown in the Policy Declarations
for'iMedical Fayments" coverage)
PART ¡ . PERSONAL INJURY PROTECTION
DEFINITIONS
The definitions of the terms insured and you under Section I apply to Section ll also.
1. Eodily injury means bodiiy injury, sickness, or disease to a person, caused by acciden'r, including resulting sickness.
    disease or death resulting therefrom. All claims for damages arising lrom bodily injury to a person from a single loss
    shall be considered one bodily injury.
2. lnsured motor vehicle means a motor vehicle.
    {a) Of which you are the owner, and
    (b) With respect to which security is required to be maintained under the Florida Motor Vehicle No-Fault Law, and
    (c) For which a premium is charged, or which is a trailer, other than a mobile home, designed for use with a mofor
           vehicle.
3.   (a) Medical expenses means reasonable expenses lor medically r€cessary medical. surgical, x-ray, dental,
           ambulance, hospital, professional nursing and rehabilitative services for prosthetic devices and for necessary
           remedial treatment and servrces recognized anci permitted under the laws of the srate îor an injured p€tsor;.
           Reimbursement for medical €xpenses shalf be limited to and shall noi exceed 800r/o of the schedule of maximuni
           charges as set forth in Florida Statute $ 627.73ô(5) {a) 2.
     {b)   However, the medical benefits shall provide reimbursement only for such seryices and care that are lawfully
           provided, supervised. ordered, or prescribed by a physician licensed under Florida Statutes Title 32, chapter 458
           or chapter 459, a dentist licensed under Florida Statutes Title 32, chapter 466, or a chiropractic physician
           licensed under Florida Statutes, Title 32, chapter 460 or that are provided by any of the following persons or
           entities:
           1. A hospital or ambulatory surgical center licensed under Florida Statutes, Title 29, chapter 395.
           2.   A person or entity licensed under Florida Statutes, Title 29, chapters 401.2'101-401.45 that provides
                emergency transportation and treatment.
A-30FL   (03-11)   Page 6 of 19
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 19 of 63


     3.  An entity wholly owned by one or more physicians licensed under Florida Statutes, Title 32, chapter 458 or
         chapter 459, chiropractìc physicians licensed under Florida Statutes, Title 32, chapter 460, or dentists licensed
         under Florida Statutes, Title 32, chapter 466 or by such practitioner or practitioners and the spouse, parent, child,
         or sibling of that practitioner or those practitioners.
     4. An entity wholly owned, directly or indirectly, by a hospital or hospitals.
     5. A health care ciinic licensed under Florida Statutes Title 29, chapters 400.990-400.995 that is:
         a. Accredited by the Joint Cornmission on Accreditation of Healthcare Organizations, the American Osteopathic
              Association, the Commission on Accreditation of Rehabititation Facilities, or the Accreditai.ion Association for
              Ambulatory Health Care, lnc.; or
         b. A health care clinic that.
              (l) Has a medical director licensed under chapter Florida Statutes Title 32, chapter 458, chapter 459, or
                    chapter 460;
              (ll) Has been continuously licensed for more than 3 years or is a publicly traded corporation that issues
                    securities traded on an exchange registered with the United States Securities and Exchange Commisston
                    as a national securities exchange; and
              (lll) Provides at least four of the following medical specialties:
                    (A) General medicine.
                    (B) Radiography.
                    (C) Orthopedic medicine.
                    (D) Physical medicine.
                    {E) Physical therapy.
                    (F) Physical rehabilitation.
                    (G) Prescribing or dispensing outpatient prescription rnedication.
                    (H) Laboratory services.
4.   Medically necessary refers to a medical service or supply that a prudent physician would provide for the purpose of
     preventing, diagnosing, or treating an illness, injury, disease, or symptom in a manner that is.
     (a) ln accordance with generally accepted standards of medical praciice;
     (b) Clinically appropriate in terms of type, frequency, extent, site, and duration, and
     (c) Not primarily for the convenience of the patient, physician, or other health care provider.
5.   Mator vehicle means any self-propelled vehicle of four or more wheels which is of a type both designed and
     required to be licensed for use on the highways of Florida and any trailer or semi-trailer designed for use with such
     vehicte.
     A motor vehicle does not include.
     (a) Any motor vehicle which is used in mass transit other than public school transportation and designed to
          transport more than five passengers exclusive of the operator of the motor vehiicle and which is owned by a
          municipality, a transit authority, or a political subdivision of the state; or
     (b) A mobile home.
6.   Occupying means in or upon or entering into or alighiing from;
7.   Qwner means a person or organization who holds the legal title lo a motor vehicle, and also includes.
     (a) A deÞtor having the right to possession, in the event a motor vehicle is the subiect of a security agreement, and
     (b) A lessee having the right to possession, in the event a motor vehicle is the subject of a lease with option to
          purchase and such lease agreement is for a period of six months or more. and
     (c) A lessee having the right to possession, in the event a motor vehicle is the subject of a lease withoui optic,n to
          purchase, and such lease agreement is for a period of six months or more, and the lease agreement provides
          that the lessee shall be responsible for securing insurance;
B.    Pedestrian means a person while not an occupant of any self-propelled vehicle;
9.    Relative means a person related ta you by blood. marriage or adoptiorr (including a ward or foster child) who is
     usually a resident of the same household as you,
1ü. Repfacement services expenses means with respect to the period of disability of tne iniured person all expenses
     reasonably incurred in obtaining from others ordinary and necessary services in lieu of those that, þut for such injury,
     the injured person would have performed without income for the benefit of his household;
11 . Work loss means with respect to the period of disability of the injured person, any loss of income and earning
     capacity from inabilily to work proximately caused by the in¡ury sustained by the injured person.
PAYMENTS WE WILL MAKE
The Company will pay in accordance with the Florida Motor Vehicle No Fault Law (as enacted, amended, or newly
enacted), and where applicable in accordance with all fee schedules contained in the Florida Motor Vehicle No Fault Law,
to or for the benefit of the injured person:
     (a) 80% ol medical expenses which are medically necessary, pursuant to the following schedule of maximum
A-30Ft (03-1   1   )   Page 7 of 19
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 20 of 63


         charges contained in the Florida Statute g 627.736(5)(a) 2:
         1.   For emergency transport and treatment by providers licensed under Florida Statutes, Title 29, chapter 40i,
             200 percent of Medicare.
         2.   For emergency services and care provlded by a hospital licensed under Florida Statutes, Title 29, chapter
              395, 75 percent of the hospital's usual and customary charges.
         3.   For emergency services and care as defined Þy Florida Statutes Title 29, chapter 395.002(9) provided in a
             facility licensed under clrapter 395 rendered by a physician or dentist, and related hospital inpatient services
              rendered by a physician or dentist, the usual and customary charges in the community.
         4.   For hospital inpatient services, other than emergency services and care, 200 percent of the Medicare Pafi A
             prospective payment applicable io the specifìc hospital providing the ìnpatient services.
         5.   For hospital outpatient services, other than emergency services and care, 200 percent of the Medicare Part
             A Ambutatory Payment Classification for the specific hospital providing the outpatient services.
         6.   For all other medical services, supplies, and care, 200 percent of the allowable amount under the
              participating physicians schedule of Medicare Part B. However, if such services, suppfies, or care is not
              reimbursable under Medicare Part B, we may limit reimbursement to 80 percent of the maximurn
              reimbursable allowance under workers' compensation, as determined under Florida Statutes Title 31, chapter
              440.13 and rules adopted thereunder which are in effect at the time such services, supplies, or care is
              provided. Services, supplies, or care that is not reimbursable under Medicare or workers' compensaiion is not
              required to be reimbursed by us,
     (b) 600/o o1 work loss; and
     (c) Repfacement s'ervices expenses;     and
     {d) Death benefits.
The above benefits will be provided for inluries incurred as a result of bodily injury , caused by an accident arising out of
the ownership, maintenance or use ol a motor vehicle and sustained by:
    (1) You or any relative while occupying a motor vehicle or, while a pedestnan through being struck by a motor
         vefirble; or
     (2) Any other person while occupytngt the insured motor vefiicJe or, while a pedestrian, through being struck by
         the insured motor vehicle.
EXCLUSIONS
Section ll - Part tdoes not apply:
1   To you or any relative injured while occøpying any molor vehicle owned by you and which is not an insured
     motor vehicle under this insurance;
2.   To any person while operating the insured motor vehicle without your express or implied consent,
3.   To any person, if such person's conduct contributed to his ôodily injury under any of the following c¡rcumstances:
     (i) Causing bodily injury to himself intentionally;
     (ii) White committing a felony,
4.   Ta you or any dependent relatíve far work loss if an entry in the schedule or declarations indicates such coverage
     does not apply;
5.   To any pedestrian, other than you or any relative. not a legal resident of the State of Florida;
6.   To any person, other than you, tt such person is the owner af a motor vehicle with respect to which secunty is
     required under the Florida Motor Vehicle No-Fault law. as amended;
7.   To any person, other than you or any refafive, who is entitleci io personal injury protection benefits from ihe otuner
     or ov!/ners ol a motor vehicle which is not an insured motor vehicle under this insurance or from the owner's
     insurer; or
8.   To any person who sustains bodily injury while occupyíng a motor vehicle located for use as a residence or
     premises.
[-lM¡T OF LlABlLlTY;APFLICA,TION OF DEÐUCTIBLE; OTHËR INSURANCE
Regardiess of the number of persons insureci, policies or bonds appficable, vehicles involved or claims maoe, the total
aggregate limit of personal injury proiection benefits available under the Florida Motor Vehicle No-Fault Law, as
amended, from all sources combined, including this policy, for all loss and expense incurred by or on behalf of any one
person who sustains bodily injury as the result of any one accident shall be $10,000; provided that payment for death
benefits included in the foregoing shatl be equal to the lesser of $5,000 or the remainder of unused personal injury
protection benefits per individual.
After the deductible is met, each insured is eligible to receive up to $10,000 in total benefits described. The amount of
any deductible stated in the declarations shall be deducted from all expenses or losses as described in FL Stat. g
627 .736 with respect to all medical expenses, replacemenÍ services expenses and work loss incurred by or on behalf
of each person to whom the deductibie applies and who sustains bodily injury as the result of any one accident. Suclr
deductible will not apply to the death benefit.
A-30F1 (03-1   1   )   Page   I   of 19
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 21 of 63


Any amount available for payment under this insurance shall be reduced by the amount of benefits an injured person has
recovered for the same elements of loss under the workmen's compensation laws of any state or the federal government.
lf benefits have been received under the Florida Motor Vehicle No-Fault Law, as amended, from any insurer for the same
items of loss and expense for which benefits a¡:e available under this policy, we shall not be liable to make duplicate
payments to or for the benefit of the injured person, but the insurer paying such þenefits shall be entitled to recover from
us iis equitable pro rata share of the benefits paid and expenses incurred in processing the claim.
POLICY PERIOD . TERRITORY
The insurance under this Section applies only to accidents which occur during the policy period:
     (a) ln fhe State of Florida;
     (b) As respects yau or a relative, while occupying the insured mator vehicle outside the State of Florida but
         within the United States of America, its territories or possessions or Canada; and
     (c) As respects pedesfrians injured when struck by the insured motor vehicle in the State of Florida, if they are not
         the owner of a motor vehiele for which coverage is required to be maintained under the Florida No-Fault Law.
CONDITIONS
1.   NOTTCE
     ln the event of an accident, written notice of the loss must be given to us or any of our authorized agents as soon as
     practicable. lf any injured person or his legal representatives shall institute legal action to recover damages for
     badily injury against a third party, â copy of the summons and complaint or other process served in connection with
     such legal action shall be forwarded as soon as practicable to us by such injured person or his legal representative.
2.   ACTION AGAINST THE COMPANY
     No action shall lie against us unless, as a condiiion precedent thereto, there shall have been full compliance with all
     terms of this insurançe, and in accordance with, and subject to the terms, conditions, and exclusions of, the Florida
     Motor Vehicle No-Fault Law, as amended.
3.   PROOF OF CLAIM; MEDICAL REPORTS AND ËXAMINATIONS; PAYMENT OF CLAIM WITHHELD
     As soon as practicable the person making the claim shall give to us written proof of claim, under oath if required,
     which may include full particulars of the nature and extent of the Ìnjuries and treatment received and contemplated,
     and such other information as may assist us in determining the amount due and payabte. Such person shalt submit tc
     mental or physical examinations in accordance with the Florida Motor Vehicle No Fault Law (as enacted, amended,
     or newly enacted), at our expense when and as often as we may reasonably require and a copy of the
     medical report shall be fonruarded to such person if requested. lf the person unreasonably refuses to submit to an
     examination, we will not be liable for subsequent personal injury protection benefits.
     Whenever a person making a claim is charged with committing a felony, we shall withhold benefits until, at the trial
     level, the prosecution makes a formal entry on the record that it will not prosecute the case against the person, the
     charge is dismissed or the person ìs acquitted.
      lf requested by us an insured, or any other person or organization making a claim or seeking paymeni, must submit
     to examination under oath (EUO) by any person named by us when. where and as often as we may reasonably
     require.
     This provision includes providing a copy of any documents, forms, records or material requested to be provided as
     part of the EUO request whether the request is made before, during or after the EUO. lf requested by us an insured         ,

     or any other person or organization making a claim or seeking payment, if the person unreasonably refuses to submit
     to an EUO, we wilt not be liable for personal iniury protection benefits.
4.   REIMBURSEMENT AND SUBROGATION
      ln the event of payment to or for the benefits of any injured person under this insuralrce:
     (a) The Company is subrogated to the rights of the person to whom or forwhose benefit such payments were made
           to the extent of such payments. Such person shall execute and deliver the instruments and papers and do
           whatever else is necessary to secure such rights. Such person shall do nothing after loss to prejudice such rights
      (b) The Company providing personal injury proteciion benefits on a private passenger motor vehicle, as defined in
           the Florida Motoi- Vehicle No-Fault Law, shall oe entitled to reimbursement to the extent of the payment oí
           personal injury protection benefits from the owner or insurer of the ourner of a commercial motor vehicle, as
           defined rn the Florida Motor Vehicle No-Fault Law, if such injured person sustq¡ned the injury whrle occupying,
           or white a pedestrian through being struck by, such commercial motor vehicle.
5.    SPECIAL PROVISION FOR RENTED OR LEASED VEHICLES
      Notwithstanding any provision of this coverage to the contrary, if a person is injured while occupying , or through
      being struck by, a rnotor vehicle rented or leased under a rental or lease agreement, within the state of Florida,
     which does not specify otherwise in at least 10 point type on the face of such agreement, the personal in¡ury
      protection coverage afforded under the lessor's policy shall be primary, Personal injury proteciion coverage offered
      under this policy will not apply to a vehicle rented, operated, used, or leased outside the state of Florida.

A-30F1   (03-11)   Page   I   of 19
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 22 of 63


PART II. MODIFICATION OF POLICY COVERAGES
Any Automobile Medical Payments insurance, any Uninsured Motorists coverage or any excess Underinsured Motorists
coverage afforded by the policy shall be excess over any Personal lnjury Protection benefits paid or available for
payment or which would be available but for the application of a deductible.
Regardless of whether the full amount of Personal lnjury Protection benefits have been exhausted, any Medicai
Payments insurance afforded by this policy shall pay the portion of any claim for Personal lnjury Protection medrca/
expenses which are othen¿vise covered but not ava¡lable for payment due to the limitatlon of 80o/o of medical expenses
contained ¡n Paft I but shall ûot be payable for the amount of the deductible seiected.
PART III. PROVISIONAL FREMIUM
It is agreed that in the event of any change in the rules, rates, rating plan, premiums or minimum premiums applicable io
the insurance afforded, because of an adverse judicial finding as to the constitutionality of any provisions of the Florida
Motor Vehicle No-Fault Law, as amended, providing for the exemption of persons from tort liability, the premium stated
in the declarations for any Liability, Medical Payments and Uninsured Motorists insurance shall be deemed provisional
and sublect to r€computation. lf this policy is a renewal policy, such recomputation shall also include a determination of
the amount of any return premium previously credited or refunded to the named insured pursuant to the Florida Motor
Vehicle No-Fault Law, as amended, with respect to insurance afforded under a previous policy.
lf the final premium thus recomputed exceeds the premium stated in the declarations, the insured shall pay to the
Company the excess as well as the amount of any return premìum previously credited or refunded.
PART IV - AUTOMOBILE MEDICAL PAYMENTS COVERAGE
(Automobile Medical Payments coverâge applies onty if a premium arnount is shown in the Policy Declarations
for'lMedical Payments" coverage)
DEFINITIONS
The definiiions of the terms insured and you under Seciion I apply to Section ll - Part lV also. The definitions under
Section ll - Part I also apply to Section ll - Part lV,
Usual and customary medical clrarges as used in this Part means charges that are otherwise covered under Section ll,
Part I of the policy.
Medically nêcessary as used in this Part means all services which would be covered under Section ll, Part I of the
policy.
PAYMENTS WE WLL MAKE
Under Automobile Medical Payments coverage, the Company will pay the rrsual and customary charges for bodity
injury, caused by an accident arising out of the ownership, maintenance or use of a motor vehicle and sustained by:
     (1) You or any relative while occupyÍng a motor vehicle or, while a pedestrian through being struck by a motor
        vehicle; or
    (2) Any other occupants of the insured motor vehicle injured in an accident that occurs outside the state of Florida,
        but within the United States of America, its territories or possessions, or Canada,
    ln addition, we will pay, subject to the coverage limit:
    (a) The portion of any claim for Personal lnjury Protection medical expense benefits otherwise covered but not
        payable due to the coinsurance provision of the Personal lnjury Protection provision. ïhis is the 20% ol medical
        expenses not covered in Part I - Payments We Will Make, item (a);
    (b) Usual and customary charges incurred tor medically necessa¡y seryices that exceed the Personal lnjury
        Protection medical expense coverage paid and when Personal ln¡ury Protection coverage is exhausted, and
    (c) Usøal and customary charges incurred 'oy you or any relative for medically necessary services ihat result
        from in¡uries received while occupying a motor vehicle or as a pedestrian in an accident that occurs outside
        the state of Florida, but within the United States of America, its ierritories or possessions, or Canada.
EXCLUSIONS
Automobile Medical Payments coveragle does not apply:
'f . To yau or any relative injured whiie occupyinE any motor vefticle owned by yocr or a retative and wnicir is not,arr
     insured motor vehicle under this insurance,
Z. To any person white operating the insured motor vehicle without your express or ¡mplied consent,
3. To any person, if such person's conduct contributed to his bodily injury under any of the foltowing circumstances:
     (i) Causing bodily injury io hìmself intentionally;
     (ii) While committing a felony;
4. To any pedestrian, other than you ar any rerafive; or
5. To any person, other than you, il such person is the ourner of a motor vehicle with respect to which security is
     required under the Florida Motor Vehicle No-Fault Law, as amended;
6. To any person, other than yau or a relative, who is entitled to personal injury protection benefits from the owner or
A-30F1 (03-11) Page 10of 19
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 23 of 63


     owners af a motor vehicle which is not an ínsured motor vehicle under this insurance or from the owner's insurer:
7.   To any person who sustains bodìly injury while occupying a motor vehicle located for use as a residence or
     premises;
8.  To bodily injury sustained by you or a relative that results from war of any t<ind;
9.  To bodily injury sustained by you or a relative that results from exposure to fungi;
10. To bodily injury sustained by you or a relafiye that results from:
     (i)    Nuclear reaction,
     (ii)   Radiation or radioactive contamination from any source;
      (iii) The intentional or accidental detonation of, or release of radiation from any nuclear or radioactive device;
11. To bodily injury sustained by yau or a relative while occupying a motor vehicte, or while a pedestrian through
      being struck by a motor vehicÍe while being employed or engaged in the business of selling, leasing, repairing,
      parking, storing, servicing, delivedrrg or testing vehicles. However, this exclusion does not apply lo you or a relative,
      or an agent or employee of yau or a relative, when using the insured motor vehicle.
12. To bodily iniury sustained by you or a relative caused by the insured in participation and/or preparation for any
      racing, speed or demotition contest or stunting activity of any nature, whether or not prearranged or organized.
LIMITS OF LIABILITY
Regardless of the number of persons insured, policies or bonds applicable, vehicles involved or claims mqde, the total
aggregate limit of Automobile Medical Payments benefits available fr"om all sources combined, including this policy, for
all loss and expense incuned by or on behalf of any one person who sustains bodily injury as the result of any one
accident is the amount listed in the declarations page.
OTHER INSURANCE
Any amount available for payment under this insurance shall be reduced by the amount of benefits an injured person has
recovered for the same elernents of loss under the workmen's compensation or other similar laws of any state or the
federal government.
tf benefìts have been received under any similar coverage from any insurer for the same items of loss and expense for
which benefits are available under this policy, we shall not be liable to make duplicate payments to or for the benefit of
the injured person, but the insurer paying such benefits shall be entitled to recover from us its equitable pro raia share of
the benefits paid änd expenses incurred in processing the claim. This coverage wìll coordinate with any applicable
Personal lnjury Protection benefits but will not duplicate any benefits available for payrnent. The coverage of the
occupied vehicle is primary.
Any Uninsured Motorist Coverage or any excess Underinsured Motorist Coverage afforded by this policy shall be excess
over any Automobile Medical Payments benefits paid or available for payment or which would be available but for the
application of a deductible; and subject to the terms and conditions of the Uninsured/Underinsured Motorist coverage.
POLICY PERIOD .TERRITORY
The insurance under this Part applies only to accidents wh¡ch occur during the poficy period:
(a) ln the State of Florida; and
(b) We will cover you or any relative for injuries incurred while occupying a motor vehicle or as a pedestrtan in an
      accident that occurs outside the state of Florida, but within the United States of America, its ierritories or
      possessions, or Canada. This coverage is excess over any other val¡d and collectible insurance provided with respect
      to the occupied rnofor vehicle.
CONDITIONS
1.    NOTICE
      ln the event of an accident, written notice of the loss must be given to us or any of our authorized agents as soon as
      practicable. lf any injured person or his legal representatives shall insiitute legal aciion to recover damages for
      bodily injury against a third parÇ, a copy of the summonb and complaint or other process served in connectÌon wi$i
      such legal action shall be forwarded as soon as practicable to us b¡l such injured person or his iegal representative.
2.    PROOF OF CLAIM; MËDICAL REPORTS AND ËXAMINATIONS; PAYMËNT OF CLAIM WITHHELD
      As soon as practicable the person ntaking the claim shall give to us writien proof of claim, under oath if required,
      which may include full pariiculars of the nature and exteni of the bodíly injury and treaiment received and
      contemplated, and such other information as may assrst us in determining the amount due and payable Such person
      shall submit to mental or physical examinations at our expense when and as ofien as we may reasonably require and
      a copy of the medical report shall be forwarded to such person if requested. lf the person unreasonably refuses to
      submit to an examination, we will not be liable for subsequent Automobile Medicat Payment benefits.
      Whenever a person making a claim is charged with committing a felony, we shall withhold benefits until, at the trial
      level, the prosecution mai<es a formal entry on the record that it will not prosecute the case against the person, the
      charge is dismissed or the person is acquitted.

A-30F1 (03-1   1)   Page l1 of   19
             Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 24 of 63


     We also have the right to determine if incurred charges and treatment are reasonable, medically necessary and
     causally related to a bodily injury sustained in an accident, This determination may be made by use of utilization
     review, peer reviews, medical bill reviews or medical examination- We will also have the right to determine if
     incurred charges are usual and customary charges and if treatrnent is medically necessary.
     lf requested by us an insured , or any other person or organization making a claim or seeking payment, must submit
     to examination under oath (EUO) by any person named by us when, where and as often as we may reasonably
     require.
     This provision includes providing a copy of any documents, forms, records or material requested to be provided as
     part of the EUO request whether the request is made before, during or after the EUO. lf requested by us an insured,
     or any other person or organization making a claim or seeking payrnent, if the person unreasonably refuses to suÞmit
     to an EUO, we will not be tiable for medical payments benefits.
3.   ACTION AGAINST THE COMPANY
     No action shall lie against us:
     (a) Unless the insured has fully complied with atl the policy's terms and conditions; and
     (b) Until 30 days after the required notice of accident and reasonable proof of claim has been filed with us; and
     (c) Unless we receive written notice of the intent to initiate litigation and within 30 days after receipt of such notice
          we do not:
          (i) Pay the claim; or
          (ii) Mail to the person filing the notice a writien staternent of our agreement to pay for such treatment in
               accordance with the notice.
     Payment or our written statement of agreement to pay for treatment shall be treated as being made on the date a
     draft, or other valid instrument that is equivalent payment, or the written statement of agreement to pay, is placed in
     the United States mail properly addressed posted envelope or if not so posted, on the date of detivery.
     The written notice of intent to initiate litigation must state that it is a demand letter for Automobile Medical Payments
     coverage and contain the following information:
     (a) The name of the insured for whom benefits are being sought including a copy of the assignment giving rights to
          the claimant if the claimant is not the insured;
     (b) The claim number and or policy number upon which the claim was originally submitted, and
     (c) To the extent appticable, the name of the medical provider who rendered the treatmenl, services,
          accommodations or supplies that form the þasis of the claim, and each exact amount, the date of treatment,
          service or accommodation and the type of benefits claimed to be due. A health insurance claim form
          (CMS-15û0) or UB 92 form or any other standard form approved by the Department of Financial Services, may
          be used as the itemized statement.
     The written notice must be delivered to us by United States CertÍfied or Registered mail, Return Receipt Requested,
     at the address we have filed wÍth and that is made available by the office of the Florida Chief Financial Officer on its
     internet websìte.
4.   SUBROGATION
     ln the event of payment to or for the benefits of any iniured person under this insurance the Company is subrogated
     to the rights of the person to whom or for whose benefìt such payments were made to the extent of such payments.
     Such person shall execute and deliver the instruments and papers and do whatever else is necessary to secure such
     rights. Such person shall do nothing after loss to prejudice such rights.
     When an ìnjured person has been paid by us and also recovers from another, the amount recovered will be held by
     the injured person in trust for us and reimbursed to us to the extent of our payment. lf we are not reimbursed, we may
     pursue i'ecovery of that amount directiy against the injureci person.
                                     SECTION ¡I¡ . PHYSICAL DAMAGE COVÊRAGES
                                    Your Protection For Loss ûr Damage To Your Car
DEFINITIONS
The definitions of the terms auto business, farm auto, non-owned auta , private pâssenger autc, reiative, temporarlr
substitute auto, utilifir autc , yau, your, anð wa¡.uncier Section I apply to Section lll aiso. Under this Sectron, tne
following special definitions apply:
1.   Actual caslr value is the replacement cost of the auto or property less depreciation or betterment.
Z.   Betferment is improvement of the auto or property to a va¡ue greater than its pre-loss condiiion.
3.. Collision means loss caused by upset of the covered auto or iis collision with another object, including an attached
     vehicle.
4.   Comprehensive means Joss caused other than by collision and includes the following câuses:
     (a) Mrssiles;
     (b) Falling objects;
     (c) Fire;
A-30F1   (03-11) Page 12 of 19
             Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 25 of 63


     (d) Lightning;
     (e) Theft;
     (f)   Larceny;
     (g)   Explosion;
     (h)   Earthquake;
     (i)   Windstorm;
     (j) Hail;
     (k) Water;
     (l) Flood;
     (m) Malicious mischief;
     (n) Vandalism;
     (o) Riot;
     (p) Civil cornmotion; or
     (q) Colliding with a bird or animal.
5.   Custom parfs or equipment means paint, equipment, devices, accessories, enhancements, and changes, other
     than those which are original manufacturer installed, which,
     (a) Are permanently installed or attached; or
     (b) Alter the appearance or performance of a vehicle.
     This includes any electronic equipment, antennas, and other devic-es used exclusively to send or receive audio,
     visual, or data signals, or to play back recorded media, other than those which are original manufacturer installed,
     that are permanently installed in the owned auto or a newly acquired vehicle using bolts or brackets, including
     slide-out brackets.
6.    Depreciation means a decrease or loss in value to the auto or property because of use, disuse, physical wear and
     tear, age, outdatedness, or other câuses.:
7.   lnsured means:
     {a) Regarding the owned auto.
         (i) You and your relatives,
         (ii) A person or organization maintaining, using or having cusiody of the auto wilh your permission, if his use is
              within the extent of that permission.
     (b) Regarding a non-ot¡rned auto, you and your relatives, when driving the auto, if the actual operaiion or use is
         with the permission or reasonably believed to be with the permission of the owner and within the extent of that
           permission.
L    Loss means direct and accidental loss of or damage to:
     (a) An owned or nan-owned auta, including its equipment; or
     (b) Other property rnsured under this sect¡on.
9.   Owned aüto means:
     (a) Any vehicle described     in this policy for which a specific premium cha¡ge indicates there is physical damage
           coverage;
     (b)   A privafe passenger, larm or utility auto or a trailer, ownership of which you acquire during the policy period
           or for which you enter into a lease during the policy period ficr a term of six months or more, ii
           (i)  lt replaces an owned aufo as descrìbed in (a) above, or
           (ii) We insure all private passenger, farm, and utility autos owned by you on the date of the acquisition and
                you ask us to add it to the policy no more than 30 days later;
    (c) A temporcry subst¡tute auta.
14. Trailer means a trailer designed to be towed by a private passenger aufo and not used as a home, residence,
     office, store, display or passenger trailer. Trailer does not mean a trailer with built-in sleeping facilities designed for
     recreational or camping use.
Lo$s=s w= wtLL PÂ.Y
Comprehensive (Excluding Coltision )
1.We will pay for each loss, less the applicable deductible, caused other than by collision to the owned or
   non-owned aufo, This includes glass breakage,
   No deductible will apply to loss to windshield glass.
  At the option of the insured, breakage of glass caused by collision may be paid under the Collision coverage, if
     included in the policy.
Z. We will pay, up to $200 per occurrence, less the applicabie       deductible,   for loss to personal effects due   to:
     (a)   Fire;
     (b)   Lightning;
A-30FL   (03-11)   Page 13 of 19
                  Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 26 of 63


         (c)   Flood,
         (d)   Falling objects;
         (e)   Earthquake;
         (f)   Explosion;or
         (g) Theft of the entire automobile.
         ïhe property must be owned by you ar a relative, and must be in or upon an owned auta.
3.       Losses arising out of a single occurrence shall be subject to no more than one deductible.
Collision
1   .
   We will pay fot' collision /oss to the owned auto for the amount of each loss less the applicable deductible and to
   lhe non-owned auto for the amount of each loss less the applicabte deductible when driven by you or a relative.
2. We will pay up to $200 per occurrence, less the applicable deductible, for ,oss to personal effects due to a collisian
   The property must be owned by you or a relative, and must be in or upon an owned auto.
3. Losses involving one owned aufo, arising out of a single occurrence shaÌl be subject to no more than one
   deductible.
4. lf more than one owned auto or non-owned aøfo is involved in a collision loss, any deductible will apply
   separately to each owned auto or non-owned auto.
ADDITIONAL PAYMENTS WE WILL MAKE UNDER THE PHYSICAL DAMAGE COVERAGES
1. We will reimburse the insured for transportation expenses incurred during the period beginning 48 hours after a theft
   of the entire auto covered by Comprehensive coverage under this policy has been reported to us and the police.
   Reimbursement ends when the auto is returned to use or we pay for the loss.
   Reimbursement wilt not exceed $30.00 per day nor $900.00 per loss.
2. We will pay general average and salvage charges for which the insared becomes legally liable when the auto is
   being transpofted.
EXCLUSIONS
Section lll Does Not Apply:
1.  To an auto used to carry passengers or goods for hire is not covered. However, a vehicle used in an ordinary car
    pool on a ride sharing or cost sharing basis is covered.
2.  To loss due to war.
3.  To loss to a non-ownèd auto when used by the insured in the aufo ö{rsiness.
4.  To foss caused by and limited to wear and tear, freezing, mechanical or electrical breakdown or failure, unless that
    damage results from a covered theft.
5.  To road damage to tires.
6.  To foas due to radioaotrvity.
7.  To loss to any tape, wire. record disc or other medium for use with a device designed for the recording and/or
    reproduction of sound.
8.  To loss to any radar detector.
g.  To any vehicle or trailerwhen used for business or commercÍal purposes other than a farm auta-
10. To loss for cusforn parts or equiprnent unless the existence of those cusforn parts or equipment has been
    previously reported to us and an endorsemeni to the policy has been added.
    i.
i To any liability assumed under any contract or agreement.
12" To any loss resulting from:
    (a) The acquisition of a stolen vehicle;
    (b) Any governmental, legal or other action to return a vehicie to its legal, equitable, or beneficial owner, or anyone
        claiming an ownership interest in the vehicle; or
    (c) Any confiscation, seizure or impoundment of a vehicle by governmental authorities.
    (d) The sale of an owned auto.
13. To the destruction, impoundment, confiscation or seizure of a vehicle by governmental or civil authorities due to its
    use by yau, a relative or a permissive user of the vehicle in illegat activity.
14. Ta any loss caused by the fnsured in participaiion and/or preparation for any racing, speed, or demolition contest oi-
    stunting activity of any nature, whether or not prearranged or organized.
LIMIT OF LIABILITY
The limit of our liability for foss.
1 ls the acúual cash value of the property at the time of the loss;
2. Will not exceed the prevaiting competìtive price to repair or replace the propelry ât the time     of   loss, or any of its
A-30F1 (03-1      1   )   Påge 14 of 19
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 27 of 63



     parts, includ¡ng parts from non*original equipment manufacturers, with other of like kind and quality and will not
     include compensation for any diminution of value that is claimed to result from the loss. Although yoa have the right
     to choose any repair facility or location, the limit of liability for repair or replacement of such property is the prevailing
     competitive price which is the price we can secure from a competent and conveniently located repair facitity. At your
     request, we will identify a repair facility that will perform the repairs or replacement at the prevailing competitive
     price;
3.   To personal effects arising out of one occurrence is $200;
4.   To a trailer not owned by you is $500:
5.   For custom parts or equipment is limited to the acfual cash value ol the cssfom parls or eqüiprnenf, not to
     exceed the acfual cash value of the vehicle.
     Actual cash value or betfermenú of property will be determined at the time of the loss and will include an
     adjustment lor depreciation/bettermenf and for the physicat condition of the property.
6.   lf this policy covers two or more autos or fralTers any deductibles will apply separately to each.
OTHER INSURANCE
lf the insured has other insurance against a loss covered by Section llt, we will not owe more than our pro rata share of
the total coverage available- Any insurance we provide for a vehicle yau da not own shall be excess over any other valid
and collectible insurance-
COND¡TIONS
The following conditions apply only to the Physical Damage coverages:
1.   NOTTCE
     As soon as possible after a loss, written notice must be given us or our authorized agent stating:
     (a) The identity of the insured;
     (b) A description of the auto or traileç
     (c) The time, place and details of the loss; and
     (d) The names and addresses of any witnesses.
     ln case of theft, the insured must promptly notify the police.
2.   ASSISTANCE AND COOPERATION OF THE ,iìTSURED
     The lnsured will cooperate and assist us, íf requested:
     (a) ln the investigation of the loss;
     (b) ln making settlements;
     (c) ln the conduct of suits,
     (d) ln enforcing any right of subrogation against any legally responsible person or organization;
     (e) At trials and hearings;
     (f) ln sccuring ond giving ovidence; and
     (g) By obtaining the attendance of witnesses.
3.   ACTION AGAINST US
     Suit will not lie against us unless the policy terms have been comptied with and until 30 days after proof of loss is
     filed and the arnount of loss is determined.
     lf we retain salvage, we have no duty to preserve or otherwise retain the salvage for any purpose, including as
     evidence for any civil or criminal proceeding- lf you ask us immediately after a loss to preserve the salvage for
     inspection, we will do so for a period nct tc exceed 30 days. You may purchase ihe salvage from,us if you wish.
4.                   DUTIES IN EVENT OF LOSS
     'NSURED'S
     ln the event of loss the insured will:
     (a) Protect the auto, whether or not the loss is covered by this policy. Further loss due to the lnsured's faiiure to
          protect the auto will not be covered. Reasonable expenses incurred for this protection wilt be paid by us
     (bl F¡le with us, within 91 days after ioss, his sworn proof of loss including all information we may reasonâblì'
          require.
     (c) At our request, the insured will exhibil the damaged property and submit to examination undèr oath
5.   APPRAISAL
      lf we and the insured do not agree on the amount of loss, either may, within 60 days after proof of loss is filed,
     request an appraisal of the /oss. Both pariies must agree to the appraisal at the time of dispute. ln that event, we and
     the insured will each select a competent appraiser. The appraisers will select a competent and disinterested umpire.
     The appraisers will state separately the acfual cash value and ihe amount of the loss. lf they fail to agree, they will
     submit the dispute to the umpire. An award in writing of any two will determine the amount of toss. We and the
      insured will each pay his chosen appraiser and will bear equally the other expenses of the appraìsal and umpire.
     We will not waive our rights by any of our acts relating to appraisal.

A-30F1 {03-1   1)   Page 15 ôf 19
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 28 of 63


6.   PAYMENTOF LOSS
     We may at our opt¡on:
     (a) Pay for the loss; or
     (b) Repair or replace the damaged or stolen property.
     At any time before the foss is paid or the property replaced, we may return any stolen propeÉy to you or to the
     address shown in the declarations at our expense with payment for covered damage. We may take all or part of the
     property at the agreed or appraised value, but there will be no abandonment to us. We may settle claims for loss
     either with the insured or the owner of the property.
7.   NO BENEFIT TO BAILEE
     This insurance does not apply directly or indirectly to the benefit of a carrier or other bailee for hire liable for the loss
     of the auto.
8.   SUBROGATION
     When payment is made under this policy, we will be subrogated to all the insured's rights of recovery, to the extent
     of our payment against others. The insured will help us to enforce these rights. The insured will do nothing after
     loss to prejudice these rights.
     This means we will have the right io sue for or othenvise recover the loss from anyone else who may be held
     responsible.
9.   ASSIGNMENT
     With respect to Section lll, Physical Damage Coverages, an Assignment of interest under this policy will not bind us
     without our consent, Any nonconforming assignment shall be void and invalid. Moreover, the assignee of a
     nonconforming assignment shall acquire no rights under this contract and we shall not recognize any such
     assionment.
                                     SECTION IV. UNINSUREÍ} MOTORIST COVERAGE
      Protection For You And Your Passengers For lnjuries Caused By Uninsured And Hit-And-Run Motorist
UNLESS AMENDED WITH THE STACKED OR NON-STACKED UNINSURED/UNDERINSURED AMENDMENT, YOU
ELECTED NOT TO PURCHASE CERTAIN VALUABLE COVERAGE, WHICH WOULD HAVE PROTECTED YOU AND
YOUR FAMILY WHEN INVOLVED, IN A COVERED LOSS WITH AN UNINSURED/ UNDERINSURED MOTORIST
THIS POLICY DOES NOT PROVIDE UNINSURED/UNDERINSURED MOTORISTS BENEFITS.
Uninsuredlunderinsured motorist benefits are designed to provide protection when you or your family are
involved in an accident with an uninsuredlunderinsured motorist .
                                      SECTION V. GENERAL CONDITIONS
                             These conditions Apply To all coverages ln This Policy
1.   TERRITORY. POLICY PERIOD
     This policy applies only to accidents, occurrences or losses during the policy period within the United States of
     America, its territories and possessions, or Canada and while an owned aufo is being transported between ports
     thereof   .


     Unless otherwise cancelled, this policy will expire as shown in the declarations. But, it may be continued by our offer
     lo renew and your acceptance prior to the expiration date. Each period will begin and expire at 12:01 A.M. local time
     at your address stated in the declarations.
r    DÞtrt\/il1 lÀ,
     When you dispose of, acquire ownership of. or replace a private passenger, farm or utilíty auto, any necessary
     premium adjustment will be made as of the date of the change and in accordance with our manuals.
3.   CHANGES
     The terms and provisions of this policy cannot be waived or changed, except by an endorsement issued to form a
     part of this policy
     We may revise this policy during its term to provide more coverage without an inoease in premium. lf we do so,
     your policy will automatically include the broader coverage when effective in your state.
     The premium for each auto is based on the information we have in yourfile. You agree:
     (a) That we may adjust your policy premiums during the policy term if any of this rnformation on which the
          premiums are þased is incorrect, incomplete or changed.
     (b) That yoa will cooperate with us in determining if this information is correct and complete,
     (c) That you will notify us of any changes in this information
     Any calculation or recalculation ol your premium or changes in your coverage will be based on thé rules, rates and
     forms on file, if required, for our use in your state.


A-3ûFL   (03-11) Page 16 of   19
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 29 of 63



4.   ASSIGNMENT
     Assignment of interest under this poticy will not bind us without our consent.
     lf you die, this policy will cover:
     (aj Your surviving       spouse;          \
     (b) The executor or administralor of your estate, but only while acting within the scope of his duties;
     (c) Any person having proper temporary custody of the owned auto, as an insured, until ihe appointment and
          qualification of the executor or administrator of your estate; and
     (d) Under the Medical Payments coverage, a person who was a relative at the tìme of your death, if a premium is
          shown on the Policy Declarations for Medical Payments.
5.   CANCELLATION BY THE
     You may cancel this policy 'IVSURED
                                    by providing notice to us stating when, after the notice, cancellation will be effective.
     However, \you may not cancel during the first two months immediately following your policy's effective date except:
     (a) Upon total destruction of all of the owned aufos;
     (b) Upon transfer of ownershíp of all of the ou¡ned aufos;
     (c| 11 you obtained a replacement policy covering an owned aufo elsewhere; or
     (d) When we notify you that the premium charged must be increased to comply with our rate ñtings or the applicable
           laws of Florida, you havé the following options:
     1.    Upon receipt of yourbill you may pay the difference in premium and keep the policy as it stands with the
           corrected premium; or
     2.     You may cancel this policy within 10 days from the receipt of our notice and receive a refund of any unearned
           premium; or
     3.     Your failure to respond timely or pay the additional premium charged will result in the cancellation of your policy
          when all paid premiums are exhausted.
     lf this poticy is cancelled, you may be entitled to a premiurn refund. The premium refund, if any, will be cornputed on
     a pro-rated basis according to our manuals.
6.   CANCELLATION BY US
     We may cancel this policy by mailing la you, at the address shown ìn this policy, written notice stating when the
     cancellation will be effective. This notice will be mailed by United States Post Office certificate of mailing.
     We willmail this notice:
     (a) 10 days in advance if the proposed cancellation is for nonpayment of premium or any of its installments when
           due;
     (b) 45 days in advance in atl other cases.
     The mailing or detivery of the above notice will þe sufficient proof of notice. The policy will cease to be in effect as of
     the datc qnd hour stated in the notice
     lf this policy is cancelled, you may be entitled to a premium refund, The premium refund, if any, will be computed on
     a pro-rated basis according to our manuals.
     Payment or tender of unearned premium ¡s not a condition of cancellation.
7.   CANCELLATION 8Y US IS LIMITED
     After this policy has been !n effect for 60 days or, if the policy is a renewal; effective immediately, we will not cancei
     unless:
     (a) You cio not pay the premiums for this policy or any installment when due to us or our agent; or
     (b) Any insured has had his driver's license or motor vehicle registration under suspension or revocation; either:
          (i)   During the current policy period; or
           (ii) During the preceding 180 days if this is a new poticy; or
     (c) There has been fraud ormaterial misrepresentation underthe policy in your application or in making aclaim.
     We wilt not canceÌ a new polìcy during the first 60 days immediatelv following the effective date of tne policy for
     nonpayment of premium unless the reason for the cancellation is the issuance of a payment for the premium thai is
     dishonored for any reason. lf the initial payment on the policy is dishonored, we will not declare the policy void
     without providing you with notice of your right to cure the nonpayment as required by Florida taw.
     Nothing in this section will require us io renew this policy.
8.   RENEWAL
     We agree thai we shall provide you at least 30 days written notice of renewal of your policy.
     We will only non-renew this policy if.
     (a) One or more of the reasons listed in Condition 7 (above), CANCELLATION BY US lS LIMITED, exists; or
     (b) You refuse to provide us with renewal classification and rating information as we may require; or
     (c) We are otherwise permitted to do so by the State of Florida.
A-30F1 (03-1   1)   Page 17 of 19
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 30 of 63


    lf you.
    (1) do not pay the premium as required to renew this policy; or
    (2) have informed us or our agent that you wish the policy cancelled or not renewed; or
    (3) do not accept our offer to renew.
    it will be construed to mean that you have refused our renewal offer and the poticy will expire without notice.
    lf this policy has been in effect for five years or more we wifl not refuse to renew solely because an jnsured was
    involved in a single traffic accident.
S.  NON-RENEWAL
    We agree that we will not refuse to renew or continue this policy unless a written notice of our refusal to renew or
    continue is mailed to you, at the address shown in the policy, at least 45 days prior to the expiraiion notice. This
    notice wifl be mailed by United States Post Office certificate of mailing. The mailing or delivery of this notice will be
    suffic¡ent proof of notice.
10. MEDIATION OF CLAIMS
    ln the event of a clairn for bodily injury amounting to $10,000 or less, or any property damage claim, either party
    may demand mediation of the claim, provided that suit has not yet been filed- Only one mediation may be demanded
    for each claim, unless both parties agree to more than one mediation. Mediation is not binding on either party.
    A request for mediation shall be filed with the Department of Financial Services on a form approved by the
    Department. The request for mediation shall state the reason for the request and the issues in dispute which are to
    be mediated. The Department of Financial Services will appoint the mediator to conduct the mediation. Each party
    may once reject the mediator selected by the Department, either originally or after the opposing side has exercised
    its option to reject a mediator. Each party participating in the mediation must have the authority to make a binding
    decision. All parties must mediate in good faith.
    The cost of the mediation, as set by the Department of Financial Services, is shared equally by the parties. Costs
    incurred by a party in preparing for or attending the mediaiion are paid by the party incurring that cost.
11. OTHER INSURANCE
    lf other insurance is obtained on your owned auto, any similar insurance afforded under this policy for that auto will
    terminate on the effective date of the other insurance.
12. ACTION AGAINST US
     Persons other than the insured covered by this policy, may not name us as a defendant prior to first obtaining a
    judgment against an insured.
13. DIVIDEND PROVISION
     You are entitled to share in a distribution of the surplus of the Company as determined by its Board of Directors from
     time to time.
14. DECLARATIONS
     By acceptrng thls policy, you agree that:
     (a) The statements in your application and in the declarations are your agreements and representations;
     (b) This policy is issued in reliance upon the truth of these representaiions; and
     (c) This policy, along with the application and declaration sheet, embodies all agreements relating to this insurance.
          The terms of this policy cannot be changed orally.
15. FRAUD AND MISREPRESENTATION
     Coverage is not provided to any person who knowin_cly conceals or misrepresents any material fact or circumstance
     relat¡ng to this insurance:
     1. At the time application is made; or
     2.   At any time during the policy period; or
     3.   ln connection with the presentation or settlement of a claim.
1G. EXAMTNATTON UNDER OATH (EUO)
     The insured; or any other person or organizaiion seeking coverage under this policy must suþmit to examinaiion
     under oath by any person named by us when, where ancj as often as we may reasonably require. This provision
     includes providing a copy of any documents, torms, records, or materials requested to be provided as part of the
     EUO request whether the request is made before, during or after the EUO.
f 7. TERMS OF PCILICY CONFORMËD TO STATUTES
     Any terms of this policy in conflict with the statutes of Florida are amended to conform to those statutes.
18. CHOICE OF LAW
     The policy and any amendment(s) and endorsement(s) are to be interpreted pursuant to the laws of the state of
     Florida.


A-30FL (03-1   1)   Page 18 of 19
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 31 of 63




                                     SECTION VI- AMENDMENTS AND ENOORSEMENTS
1.   SPECIAL ENÛORSEMENT UNITED STATES GOVERNMENT EMPLOYEES
A.   Under the Property Damage coverage of Seciion l, we provide coverage to United States Government employees,
     civilian or military, using
     1.    Motor vehicles owned or leased by the United States Government or, any of its agencies, or
     2.    Rented motor vehicle used for United States Government business,
     when such use is with the permission of the United States Govemment. Subiect to the limits describe in
     paragraph B. below, we will pay sums you arc legalty obligated to pay for damage to these vehicles.
B.   The following limits apply to this coverage:
     1. A $100 deductible applies to each occurrence.
     2.    For vehicles described in 4.1. above, our liability shatl not exceed the lesser of the following:
           (a) The actual cash value of the property at the time of the occurrence; or
           (b) The cost to repair or replace the property, or any of its paris with other of like kind and quality; or
           (c) Two months basic pay of the insured; or
           {d) The limit of Property Damage liability coverage stated in the declarations.
     3.    For vehicles described in 4.2. above, our liaÞility shall noi exceed the lesser of the following:
           (a) The actual èash value of the property at the time of the occurrence; or
           (b) The cost to repair or replace the propefty, or any of it parts with other of like kind and quality; or
           (c) The limit of Property Damage liability coverage stated in the declarations.
Thìs insurance is excess over other valid and collectible insurance




                                 W.   C E. Robinson                                  O. M. Nicely
                                      Secretary                                       President




A-30FL   (03-11) Page 19 of 19
Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 32 of 63
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 33 of 63




     G¡EIGCI                                                                    Automobile Policy Amendment
                                                                                FLORIDA
     Policy Number:


     Your policy is amended as follows:
     SECTION I- LIABILITY COVERAGES
     EXCLUSIONS
     Section I Does Not Apply:
     Exclusion f . is revised as follows:
     1. To any bodity injury to any insured or any member of an insured's family residing in the insured's household.
         This exclusion does not apply if you or your relative is injured as a passenger in a motor vehicle insured under this
         policy white that vehicle is being driven by a person who is neither you nor your relative.

     SECTION V. GENERAL CONDITIONS
     These Conditions Apply To All Coverages ln This Policy

     7. CANCELLATION BY US IS LIMITED
     The following language has been deleted

         lf the initial payment on the policy is dishonored, we will not declare the policy void without providing you vùith
         notice of your right to cure the nonpayment as required by Florida law.


     We affirm this amendment.




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                               C. É. Robinson
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                              Secretary                                                      President




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Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 34 of 63
             Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 35 of 63




G¡EICcI                                                                  FI-ORIDA POLIGY AMENDMENT

Policy Number:


Your policy   is amended as follows:
SECTION ll - Personal lnjury Protection Coverage is replaced in its entirety with the following:
PART I. PERSONAL INJURY PROTECTION
DEFINITIONS
1.   Bodily injury means bodily injury, sickness, or disease to a person, caused by aecident, including resulting sickness,
     disease or death resulting therefrom. All clairns for damages arising lrom bodily injury to a person from a singte loss
     shall be considered one bodily injury   .

2.   Disability benefits means sixty percent (600/o) of any loss of gross income and loss of eaming capacity per
     individual from inability to work proximately caused by the injury sustained by the injured person, plus all expenses
     reasonably incurred in otrtaining from others ordinary and necessary services in lieu of those that, but for the injury,
     the iniured person would have performed without income for the benefit of his or her household.
3.    Emergency medical condition means a medical condiiion manifesting itself by acute symptoms of sufficient
     severity, which may include severe pain, such that the absence of imrnediate medical attention could reasonably be
     expected to result in any of the fotlowing:
     (a) Serious jeopardy to patient health;
     (b) Serious impairment to bodily functlons; or
     (c) Serious dysfunction of any bodily organ or part.
4.    Êntity wholly owned means a proprietorship, group practice, partnership, or corporation that provides health care
     services rendered by licensed health care practitioners and in which licensed health care practitioners are the
     business owners of all aspects of the business entity, including, but not limited to, being reflected as the business
     owners on the title or lease of the physicat facility, fil¡ng taxes as the business owners, being account holders on the
     entity's bank account, being listed as the principals on all incorporation documents required by this state, and
     having ultimate authority over all personnel and compensation decisions relating to the entity. However, this
     definition does not apply to an entity that is wholly owned, directly or indireclly, by a hospital licensed under Florida
     Statutes, chapter 395.
5.   lnsured means.
     (a) You ar any relative while occupying a motor yehic/e or, while     a pedestrian through being struck by a motar
         vehicle', or
     (b) Any other person while occupying the insured"motor-vehicle or, while a pedestrÍan, through being struck by
         the insured- moto r-veh icl e .
6.   lnsured-mator-vehicle means a motor vehicle.
     (a) Of which you are the owner, and
     (b) With respect to which security is required to be maintained under the Florida Motor Vehicle No-Fault Law, and
     (c) For which a premium is charged by us, or which is a trailer, other than a mobile home, designed lor use with a
           motar vehicle.
7.   Medical benefiús means ali reasonable expenses lor medically necessarymedicai, surgical, X-ray, dental, and
     rehabilitative services, including prosthetic devices and medica/ly necessary ambulance, hospìtal, and nursing
     services if the individual receives initial services and care pursuant to paragraph (a) within 14 days after the motor
     vehicle accident. The medicaÍ benefits provide reimbursement only.
     (a) For initial services and care that are lawfully províded, supervised, ordered, or prescribed by a physìcian licensed
         under Florida Statutes, chapter 458 or chapter 459, a dentist licensed under Florida Statutes, chapter 466, or e
         chiropractic physician iicensed under Florida Stãtutes, chapter 460 or that are provided in a hospital or in a
         Tacility that owns, or is wholly owned by, a hospital. lnitial services and care may also be provided by a person or
         entity licensed under part lll of Ftorida Staiutes, chapter 401 which provides emergency transportation and
         treatment.
     (b) Upon referral by a provider described in paragraph (a), for follow up seryices and care consistent with the
         underlying medical diagnosis rendered pursuant to paragraph {a) which may be provided, supervised, ordered, or
         prescribed only by a physician licensed under Florida Statutes, chapter 458 or chapter 459, a chiropractic
         physician lic,ensed under Florida Statutes, chapter 460, a dentist licensed under Florida Statutes, chapter 466, or,
         to the extent permitted by applicable law and under the supervision of such physician, osteopathic physician,
         chiropractic physician, or dentist, by a physician assistant licensed under Florida Statutes, chapter 458 or chapter
         459 or an advanced registered nurse practitioner licensed under Florida Statutes, chapter 464.
FLPIP   (01-13)   Page   1   of   1 1
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 36 of 63


     (c) Follow up services and care may also be provided by any of the foltowing persons or entities,
         1. A hospital or arnbulatory surgical center licensed under Florida Statutes, chapter 395.
         2. An entity wholly owned by one or more physicians licensed under Florida Statutes, chapter 458 or chapter
             459, chiropractic physicians licensed under Florida Statutes, chapter 460, or dentists licensed under Florida
             Statutes, chapter 466 or by such praciitioners and the spouse, parent, child, or sibling of such practitioners.
         3. An entity that owns or is wholly owned, directly or indirectly, by a hospital or hospitals.
         4. A physical therapist licensed under Florida Statutes, under chapter 486, based upon a referral by a provider
              described in paragraph (b) under medical öenefi'És.
         5. A health care clinic licensed under Florida Statutes, part X of chapter 400 which is accredited by the Joint
              Commission on Accreditation of Healthcare Organizations, the American Osteopathic Association, the
              Commission on Accreditation of Rehabilitaiion Facilities, or the Accreditation Association for Ambulatory
              Health Care, lnc., or
              (a) Has a medical director licensed under Florida Statutes, chapter 458, chapter 459, or chapter
                  460;
            (b)   Has been continuously licensed for more than 3 years or is a publicly traded corporation that issues
                  securities traded on an exchange registered with the United States Securities and Ëxchange Comrnission
                  as a national securities exchange; and
            (c)   Provides at least four of the fotlowing medical specialties:
                  (¡) Generalrnedicine.
                  (ii) Radiography.
                  (iii) Orthopedic medicine.
                  (iv) Physical medicine.
                  (v) Physicaltherapy.
                  (vi) Physical rehabilitation.
                  (vii) Prescribing or dispensing outpatient prescription medication.
                  {viii)Laboratory services.
    Medical öenefffs do not include massage as defined in Florida Statutes S 480.033 or acupuncture as defined in
    Florida Statutes S 457.102, regardless of the person, entity, or licensee providing massage or acupuncture, and a
    licensed massagê therapist or licensed acupuncturist will not be reirnbursed for medical benefits.
8.  Medically necessary refers to a medical service or supply that a prudent physician would provide for the purpose of
    preventing, diagnosing, or treating an illness, injury, disease, or symptom in a manner that is:
    (a) ln accordance with generally accepted standards of medical practice;
    (b) Clinically appropriate in terms of type, frequency, extent, site, and duratÍon; and
    (c) Not primarily for the convenience of the paiient, physician, or other health care provider.
9.  Motor vehicle means any self-propelled vehicle of four or more wheels which is of a type both designed and
    required to be licensed for use on the highways of Florida and any trailer or semi-trailer designed for use with such
    vehìcle.
    A motor vehicle does not include:
    (a) Any motor vehicle which is used in mass transit other than pubfic school transportation and designed to
         transport more than five passengers exclusive of the operator of the motor vehicle and which is owned by a
         municipality, a transit authoriiy, or a polìtical subdivision of the state; or
    (b) A mobile home.
1A. Occupying means in or upon or entering into or alighting from.
11. Qwner meansapersonororganizationwhoholdsthelegal             titletaa motorvehicle, andalsoincludes:
     (a) A debtor having the right to possession, in the event a motor vehicle is the subject of a security agreement, and
     (b) A lessee having the right to possession, in the event a motor vehicle is the subject of a lease with opüon to
         purchase and such lease agreement is for a period of six months or more, and
     (c) A lessee having the right to possession, in the event a motor vehicle is the subject of a lease without option to
       purchase, and such lease agreernent is for a period of six rnonths or more. and the lease agreement provides
       that the lessee shall þe responsible for securing insurance.
12. Pedestrian means a person while not ail occupant of any seff-propelleq vehicle.
13. Retative means a person related to you by blood, marriage or adoption (including a ward or foster child) who rs
    usually a resident of the same household as yo{J.
14. You and yaur means the named insured shown in the declarations or his or her spouse if a resiclent of the same
    household.




FLPIP (01-13) Page 2or   11               Policy Number:
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 37 of 63


PAYMENTS WE WILL MAKE
The Company will pay in accordance wìth the Florida Motor Vehicle No Fault Law (as enacted, amended, or newty
enacted), and where applicable in accordance with all fee schedules contained in the Florida Motor Vehicle No Fault Law,
to or for the benefit of the injured person:
(A) Eighty percent (80%) of medical þenefits which are medically necessary, pursuant to the following schedule
     of maximum charges contained in the Florida Statutes S 627.736(5)(a)1., (a)2. and (a)3.:
     1. For emergency transport and treatment by providers licensed under Florida Statutes, chapter 401, 200
          percent of Medicare.
     2. For emergency services and care provided by a hospital licensed under Florida Statutes, chapter 395, 75
          percent of the hospital's usual and customary charges.
     3. For emergency services and care as defined by Florida Statutes, S 395.002 provided in a facility licensed
          under chapter 395 rendered by a physician or dentist, and related hospital inpatient services rendered by a
          physician or dentist, the usual and customary charges in the community.
     4. For hospital inpatient services, other than emergency services and care, 200 percent of the Medicare Part A
          prospective payment applicable to the specific hospital providing the inpatient services,
     5. For hospital outpatient services, other than emergency services and care, 200 percent of the Medicare Part A
          Ambutatory Payment Classification for the specific hospital providing the ouipatient services.
     6. For all other medical services, supplies, and care, 200 percent of the allowable amount under:
          (1.) The partic¡pating physicians fee schedule of Medicare Part B, except as provided in sections (ll.) and (lll.)
          (lt.) Medicare Part B, in the case of services, supplies, and care provided by ambulatory surgical centers and
             clinical laboratories.
        (lll.)The Durable Medical Equipment ProstheticslOrthotics and Supplies fee schedule of Medicare Part B, in
             the case of durable medical equipment-
    However, if such services, supplies, or care is not reimbursable under Medicare Part B (as provided in section
    (A) 6. above), we will limit reimbursement to eighty percent (80%) of the maximum reimbursable allowance under
    workers' compensation, as determined under Florida Statutes, S 440.13 and rules adopted thereunder which are in
    effect at the time such services, supplies, or care ¡s provided. Services, supplies, or care that is not reimbursable
    under Medicare or workersi compensation is not required to be reimbursed by us.
    The applicabte fee schedule or payment limitation under Medicare is the fee schedule or payment limitation in
    effect on March '1 of the year in which the services, supplies, or care is rendered and for the area in which such
    services, supplies, or care is rendered, and the applicable fee schedule or payment limitation applies throughout
    the remainder of that year, notwithstanding any subsequent change made to the fee schedule or payment
    limitation, except thât it may not be less than the allowable amount under the applicable schedule of Medicare Part B
     for 2007 for medical services, supplies, and care subject to Medicare Part B.
    We may use the Medicare coding policies and payment methodologies of the federal Centers for Medicare and
    Medicaid Services, including applicable modifiers, to determine the appropriate amount of reimbursement for
    medical services, srrpplies, or cnre if the cocling policy or payment methoriology cloes not r:onstitrrte a utilization lìmit.
    A charge submitted by a provider, for an amount less than the amount allowed above, shall be paid in the amount of
    the charge submitted.
    Within 30 days after receiving notice that the Medicaid program has paid medical benefìts, we shall repay the full
    amount of the medícal benefits to the Medicaid program subject to the LIMIT OF LIABILITY
(Bj Ðisability þeneffs, and
(C) Death benefits.
The above benefits will be provided for injuries incurred by an insrred as a result of bodily injury caused by an
accident arising out of the ownership, maintenance or use oî a motor vehicle.
ÊxcLustoNs
Section ll - Part I does not apply:
1 . lo you or any relative injured while occøpying any motor vehicle owned by you and which is not an
     ins ured-moto r-vehicl e under this insurance;
2. To any person while operating the insured-motar-vehicle without your express or implied consent;
3. To any person, if such person's conduct contributed to his bodily injury under any of the following circumslances.
    (i) Causing bodily injury to himself intentionally;




FLPIF (01-13) Pase 3 of   1   1              Policy Number:
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 38 of 63


     (ii)While committing a felony;
4.   To you or any dependent relative for any loss of gross income and loss of earning capacity from inability to work
     proximately caused by the injury sustained by the injured person if an entry in the schedule or declarations
     indicates such coverage does not appty,
5.   To any pedestrian, other than you or any relative, not a legal resident of the State of Florida,
6.   To any person, other than you, if such person is the owner af a motor vehicle with respect to whjch security is
     required under the Florida Motor Vehlcle No-Fault law, as amended;
7.   To any person, other than you or any relative, who is entitled to personal injury protection benefiis from the owner
     ar owners of a motor vehicle which is not an insured-motor-vehiele under this insurance or from the owner's
     insurer; or
8.   To any person who sustains bodily injury while occupying a motor vehicle located for use as a residence or
     premises,
LIMlT OF LIABILITY
Regardless of the number of persons insured, policies or bonds applicable, vehicles involved or claims made, the toial
aggregate limit of personal injury protection benefits available under the Florida Motor Vehicle No-Fault Law (as
enacted, amended or newly enacted), from all sources combined, including this policy, for all loss and expense
incurred by or on behalf of any one person who sustains bodily injury as the result of any one accident shall be:
1. After the applicabie deductible is met and subject to the PAYMENTS WE I/VILL MAKE, a combined total of
    $10,000 for medical öenefifs and disabílity benefits.
    Medical þenefits are subject to the following linritations:
    (a) Reimbursement for services and care provided in paragraphs (a), (b) or (c) of the definition of medical
        beneffs up to $10,000 if a physician licensed under Florida Statutes, chapter 458 or chapter 459, a dentist
        licensed under Florida Statutes, chapter 4ô6, a physician assistant lie,ensed under chapter Florida Statutes,
        chapter 458 or chapter 459, or an advanced registered nurse practitioner licensed under Florida Statutes,
        chapter 464 has determined that the injured person had an emergency medical condítion          .

    (b) Reimbursement for services and care provided in paragraphs (a), (b) or (c) of the definition af medical
        benefits is limited to $2,500 if any provider listed in paragraphs (a), {b) or (c) of the definition af medical
        þeneflts determines that the injured person did not have an emergency medicat candition.
2.   S5,000 for death benefits.
APPL¡CATION OF DEDUCTIBLE
Pursuant to Florida Statutes S 627.739, the amount of any deductible stated in the declarations and applicable to each
insured must be applied to 100o/o of all expenses or losses as described in Florida Statutes S 627.736 with respect to
all medical benefits and disaÞility benefits incurred by or on behalf of each person to whom the deductible applies
and who sustains bodtly injury as the result of any one accident, Such deductible will not apply to the death benefit,
OTHER INSURANGE
Any amount available for payment under this insurance shall be reduced by the amount of benefits arr irrjured petsùn
has recovered for the same elements of loss under the workers' compensation laws of any state or the federal
government. lf benefits have been received under the Florida Motor Vehicle No-Fault Law, as amended, from any
insurer for the same items of loss and expense for which benefits are available under this policy, we shall not be liable
to make duplicate payments to or for the benefit of the injured person, þut the insurer paying such benefìts shall be
entitled to recover from us its equitable pro rata share of the benefits paid and expenses incuned in processing the
claim.
PCLICY PERIOû . TERRITORY
The insurance under this Section applies only to accidents which occur during the poiicy period:
(a) tn the Staie of Florida;
(b) As respects you or a relative, while occupying llrc insured-matar-vehicle outside the State of Florida but
     within the United States of America, its territories or possessions or Canada; and
(c) As respects pedesfrians injured when struck by the insured-motor-vehicle in the State of Fiorida, if they are not
     the ou¡ner of a motor vehicle for which coverage is required to be maintained under the Florida No-Fault Law.
CONDITIONS
1. NOTICE
   ln the event of an accident, written notice of the loss must be given to us or any of our authorized agents as soon as
   practicable, lf any injured person or his legal representatives shall institute legal action to recover damages for
  bodily




FLPIP (01-13) Pase 4 of   11          Policy Number:
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 39 of 63



      injury aga¡nst a third party, a copy of the summons and complaint or other process served in connection with
      such legal action shall be forwarded as soon as practicable to us by such injured person or his legal representative.
2.    ACTION AGAINST THE COMPANY
      As a condition precedent to filing any action for benefiis under this coverage, written notice of intent to initiate
      litigation must be provided to us pursuant to Florida Statutes $ 627.736 (10). Such notice may not be sent until the
      claim is overdue, including any additionat time the we have to pay the claim pursuant to Florida Statutes S 627.736
      (4)(b). The notice must state that it is a "demand letter under s. 627.736" and state with specificity:
      1. The name of the Ínsured upon which such benefits are being sought, including a copy of the assignment
            giving rights to the claimant if the claimant is not the insured.
      2.    The claim number or policy number upon which such claim was originally submitted to us.
      3.    To the extent applicable, the name of any medical provìder who rendered to an insured the treatment,
            services, accommodations, or supplies that form the basis of such claim; and an itemized statement specifying
            each exact amount, the date of treatment, service, or accommodation, and the type of benefit claimed to be
            due. A completed form satisfying the requirements of Florida Statutes S 627.736 (5) (d) or the lost-wage
      '     statement previously submitted may be used as the itemized siatement, To the extent that the demand
            involves our withdrawal of payment under Florida Statutes S 627.736 (7)(a)for future treatment not yet
            rendered, the claimant shall attach a copy of our notice withdrawing such payment and an itemized statement
            of the type. frequency, and duration of future treatrnent claimed to be reasonable and medically nacessary.
      Each required notice must be delivered to us by United States certified or registered mail, return receipt requested.
      Such postal costs shall be reimþursed by us if requested by the claimant in the notice, when we pay the claim.
      Such notice must be sent to the person and address specified by us for the purposes of receiving noiices under
      Florida Statutes S 627.736 (10) (c).
      lf, within 30 days after receipt of notice by us, the overdue claim specified in the notice is paid by us together with
      applicable interest and a penalty of 10 percent of the overdue amount paid by us, subject to a maximum penatty of
      $250, no action may be brought against us. lf the deman'd involves our withdrawal of payment under Florida
      Statutes S 627.736 (7)(a) for future treatment not yet rendered, no aciion may be brought against us if, within 30
      days after its receipt of the notice, we mail to the person fìling the notice a written statement of the our agreement
      to pay for such treatrnent in accordance with the notice and to pay a penalty of 10 percent, subject to a maximum
      penalty of $250, when it pays for such future treatment in accordance with the requirements of Florida Statutes g
      627.736 (10).
      To the extent we determine not to pay any amount demanded, the penalÇ is not payable in any subsequent
      action. Payment or our agreement shall ,be treated as being made on the date a draft or other valid instrument that
      is equivalent to payment, or our written statement of agreement, is placed in the United States mail in a properly
      addressed, postpaid envelope, or if not so posted, on the date of delivery. We are not obligated to pay any attorney
      fees if we pay the claim or mail our agreement to pay for future treatment within the time prescribed by section
      Florida Siatutes S 627.736 (10).
      The applicable statute of limitation for an action under Florida Statutes S 627.736 shall be tolled for 30 business
      days by the mailing of the notice required by this Florida Statutes $ 627.736 (10)
3.    PROOF OF CLAIM AND MEDICAL REPORTS
      As soon as practicable the person making the claim shall give to us written proof of claim, under oath if required,
      which may incÌude full particutars of the nature and extent of the injuries and treatment receìved and contemplated,
      and suclr other information as may assist us in determining the amount due and payable.
4.    INDEPENDENÏ MEDICAL EXAMINATIONS
      Any person making a claim shall submit to mental or physical examinations in accordance with the Florida Motor
      Vehicle No-Fault Law (as enacted, amended, or newly enacted), at our expense when and as often as we may
      reasonably require and a copy of the medical report shatl be fon¡¡arded to such person if requested. lf a person
      unreasonably refuses to submit to or fails to appear at an examination, we are no longer liable for subsequent
      personal injury proiection benefits. An insured's refusal to submit to or failure to appear at two examinations raises
      a reþuttable presumption that the insured's refusal or failure was unreasonable.
$,    PAYMENT OF CLAIM WITHHELD
      Whenever a person making a claim is charged with committing a felony, if such person's conduct contributed to
      lhei bodily injury, we shall withhold benefits until, at the trial level, the prosecution makes a formal entry on the
      record that it will not prosecute the case against the person, the charge is dismissed or the person is acquitted.
6.'   EXAMTNATTON UNDER OATH (EUO)
       lf requested by us, an insured or omnibus insured must submit to an examination under oath (EUO) by any person
      named by us when, where and as often as we may reasonably require. The scope of quesiioning during the
      examination under oath is limited to relevant infornration or information that could reasonably be expected to lead
      to relevant information. This provision includes providing a copy of any documents, forms, records or material
      requested to be provided as þafi of the EUO request wñether ti"ie reqúest is made before, during or after the EUO.

FLPIP (01-13) Page 5 of   11           Policy Number:
          Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 40 of 63


   Compliance with submitting to an EUO is a condition precedent to receiving benefits. lf an insured or omnibus insured
   refuses to submit to or fails to appear at an EUO, we will not be liable for personal injury.protection benefits.
7. REIMBURSEMENT AND SUBROGATION
    ln the event of payment to or for the benefits of any inlured person under this insurance:
    (a) The Company may be subrogated to the rights of the person to whom or for whose benefit such payments were
         made to the extent of such payments. Such person shall execute and deliver the instruments and papers and do
         whatever else is necessarv to secure such righis. Such person shall do nothing after loss to prgudice such rights.
    (b) The Cornpany providing personal injury proteciion benefits on a pnvate passenger motor vehicle, as defined in the
         Florida Motor Vehicle No-Fault Law, shall be entitled to reimbursement to the extent of the payment of personal
         injury protection benefits from the owner or insurer of the owner of a cornmercial motor vehicle, as
         defined in the FlorÌda Motor Vehicle No-Fault Law, if such injured person sustained the injury while oceupying,
         or while a pedestrian through being struck by, such comrnercial motor vehicle. This does not apply to owners or
         registrants identified'as taxi-cabs as defined in Florida Statutes 5627.733(1Xb).
8. SPECIAL PROVISION FOR RENTED OR LEASED VEHICLES
    Notwithstanding any provision of this coverage to the contrary, if a person is injured while occupying, or through being
    struck by, a motor vehicle rented or leased under a rental or lease agreement, within the state of Florida, which does
    not specify othen¡,¡ise in at least 10 point type on the face of such agreement, the personal injury protection coverage
    afforded under the lessor's policy shall be primary. Personal injury protection coverage offered under this policy will not
    apply to a vehicie rented, operated, used, or leased outside the state of Florida.
9. REASONABLE BELIEF OF FRAUD
    lf we have a reasonable belief that a fraudulent insurance act, for the purposes of Florida Statutes S 626-989 or Florida
    Statutes S 817.234, has been committed, we shallnotify the injured person¡ in writing, within 30 days after submission
    of the claim that the claim is being investigated for suspected fraud. Beginning at the end of the initial 30-day period,
    we have an additional 60 days to conduct our fraud investigation. No later than 90 days after the submission of the
    claim, we must deny the claim or pay the claim with simple interest. lnterest shall be assessed from the day the claim
    was submitted until the day the'claim is paid. All claims denied for suspected fraudulent insurance acts shall be reported
    to the Division of lnsurance Fraud.
1 O. NONREIMBURSIBLE CLAIMS
     Claims generated as a result of activities that are unlawful pursuant to Florida Statutes S 817.505 are not reimbursable
     under the Florida Motor Vehicie No-Fault Law and this policy.
1 T.ADDITIONAL CONDTTIONS
     lf we pay only a portion of a claim or reject a claim due to an atleged error in the claim, we, at the iime of the partiat
     payment or rejection, shall provide an itemized specification or explanation of beneñts due to the specified error. Upon
     receiving the specifrcation or explanation, the person making the claim, at the person's option and without waiving any
     other legal remedy for payment, has 15 days to submit a revised claim, which shall be considered a timely submission
     of written notice of a claim.
     We shall create and maintain for each insured a log of personal injury proteciion benefits paid by us on lrehalf of the
      insured.lf litigation is commenced, we shall provide to the insured a copy of the log within 30 days after receiving a
     request for the iog from the insured.
     ln a dispute between us and the insured , or between an assignee of the insured's rights and us, upon request, we
     must notify the insured or the assignee that the policy limits under this section have been reached within 'l 5 days after
     the limits have been reached.

PART II - ADDIT]ONAL PERSONAL INJURY PROTECTION
Additional Fersonal lnjury Protection applies only if a premium amount is shown in the Policy Declarations for
"Additional Fersonal lnjury Protection" coverage. lt is an optional coverage to compliment Personal lnjury
Protection Coverage and does not increase the limit of liability.
The terms and conditions under SECTION ll: PART I - PERSONAL INJ¡,JRY PROTECTION apply to this coverage for
AC}ÐITIONAL PËRSONAL INJURY PROTãCTION
However, the following revisions are made to SËûTION lt. PART ! - PËR.SONAL INJURY PROTECTION :
Tlre definiiion of disab/rty benefits in SECTION ll: PART I - PËRSONAL INJURY PROTECTION is replaced in its
entirety as follows:
2. Disability benefiús means eighty-five percent (85%) of any loss of gross income and loss of earning capacìiy per
    individual from inability to work proximately caused by the injury sustained by the injured person, plus all expenses
    reasonably incurred in obtaining from others ordinary and necessary services in lieu of those that, but for the in¡ury, the
    iniured person would have performed without income for the benefit of his or her household.




FLPIP (01-13) Page 6 of   11            Policy Number:
          Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 41 of 63


The PAYMENTS WE WILL MAKE Section in SECTION tl: PART I - PERSONAL INJURY PROTECTION is replaced in
its entirety with the following:
PAYMENTS WE WILL MAKE
Tlre Cornpany will pay in accordance with the Florida Motor Vehicle No Fault Law (as enacted, amended, or newly
enacted), and where applicable in accordance with all fee schedules contained in the Florida Motor Vehicle No Fault Law,
to or for the benefit of the injured person:
(A) One hundred percent (100%) of medical þenefifs which are medically necessary, pursuant to the following schedule
     of maximum charges contained Ín the Florida Statutes S 627,736(5) (aX., {a)2. and (a)3.:
     .
     1    For emergency transport and treatment by providers licensed under Florida Statutes, chapter 401 , 200 percent of
          Medicare.
    2.    For emergency services and care provided by a hospital licensed under Florida Statutes, chapter 395, 75 percent
          of the hospital's usual and customary charges.
    3.    For emergency services and care as defined by Florida Statutes, S 395.002 provided in a facility licensed under
          chapier 395 rendered by a physician or dentist, and related hospital inpatient services rendered by a physician or
          dentist, the usual and customary charges in the community.
    4.    For hospital inpatient services, other than emergency services and care, 200 percent of the Medicare Part A
          prospective payment applicable to the specific hospital providing the inpatient services.
    5.    For hospital outpatient services, other than emergency services and care, 200 percent of the Medicare Part A
          Ambulatory Payment Classification for the specific hospital providing the outpatient services.
    6.    For all other medical services, supplies, and care, 200 percent of the allowable amount under:
          (1.) The participating physicians fee schedule of Medicare Part B, except as provided in sections (ll.) and (lll.)
          (ll.) Medicare Part B, in the case of services, supplies, and care provided by ambulatory surgical centers and
                clinical laboratories
          (lll.)The Durable Medical Equipment ProstheticslOrthotics and Supplies fee schedule of Medicare Part B, in the
                case of durable medical equipment,
                                                                                          I
     However, if such services, supplies, or care is not reimbursable under Medicare Part (as provided in section (A) 6.
     above), we will limit reimbursement to eighty percent (80%) of the maximum reimbursable allowance under workers'
     compensation, as determined under Florida Statutes, S 440.13 and rules adopted thereunder which are in effect at the
     time such services, supplies, or care is provided. Services, supplies, or care that is not reimþursable under Medicare
     orworkers'compensation is not required to be reimbursed by us.
     The appticable fee schedule or payment limitation under Medicare is the fee schedule or payment limitation in effect
     on March 1 of the year in which the services, supplies, or care is rendered and for the area in which such services,
     supplies, or care is rendered, and the applicable fee schedule or payment limitation applies throughout the remainder
     of that year, notwlthstancling any su[rsequent change made to the fee schedule or payment limitaiion, except that it
    'may not be less than the allowaþle amount under the applicable schedule of Medicare Part B for 2007 for medical
     services, supplies, and care subject to Medicare Part B.
     We may use the Medicare coding policies and payment methodologies of the federal Centers for Medicare and
     Medicaid Services, including applicabte modifiers, to determine the appropriate amount of reimbursement for medical
     services, supplies, or care.
     A charge submitted by a provider, for an amount less than the amount allowed above, shall b-e paid in the amount of
     ihe charge submittecj.
    Within 30 days after receiving notice that the Medicaid program has paid medical benefits, we shall repay the full
    amount of the rnedical benefits to the Medicaid program subject to the LIMIT OF LIABILITY .
(B) Ðlsaôrtrúy benefits, and
(C) Death benefits
The above benefits will be provided for injuries incurred by an insured as a result of bodily   injury caused   by an accident
arising out of the ownershrp, ma¡ntenance or use of a motor veñicle.
The following paragraph is added to the LIMIT OF LIABILITY in SECTION ll: PART I - PERSONAL TNJURY
PROTECTION Seciion:
We will not pay any benefits for bodily injury which the insured or anyone else is required to pay because of any elected
basic Personal lnjury Protection deductible or other payment limitaiion, or the portion of any loss the ínsured must share
under any provision of any basic Florida Personal lniury Proiection Coverage.




FLPIP (01-13) PageT of   11           Policy Number:
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 42 of 63


 PART III . MODIFICATION OF POLICY COVERAGES
 Any Automobile Medical Paymenls insurance, any Uninsured Motorists coverage or any excess Underinsured Motorists
'coverage afforded by the policy shall be excess over any Personal lnjury Protection benefits paid or available for
 payment or which woufd be available but for the application of a deductible.
 Regardless of whether the full amount of Personal lnjury Protection benefits have been exhausted, any Medical
 Payments insurance afforded by this policy shall pay the portion of any claim for Personal lnjury Protection medical
 þenefrús contained in Part I which are otherwise covered but not available for payment due to the limitation of eighty
 percent (B0o/o) of medicalÞenefífs contained in Part I but shall not be payable for the amount of the deductible selected.
 PART IV. PROVISIONAL PREMIUM
 It is agreed that in the event of any change in the rules, rates, rating plan, premiums or minimum premiums applicable to
 the insurance afforded, because of an adverse judicial finding as to the constitutionality of any provisions of the Florida
 Motor Vehicle No-Fault Law (as enacted, amended or newly enacted), providing for the exemption of persons from tort
 liability, the premium stated in the declarations for any Liability, Medical Payments and Uninsured Motorists insurance
 shall be deemed provisional and subject to recomputation. lf this poticy is a renewal policy, such recomputation shall also
 include a determination of the amount of any return premium previously credited or refunded to the named insured
 pursuant to the Florida Motor Vehicle No-Fault Law, as amended, with respect to insurance afforded under a previous
poticy.
lf the finat premiurn thus recomputed exceeds the premium stated in the declarations, the insured shall pay to the
Company the excess as well as the amount of any return premium previously crediied or refunded.
PART   V. AUTOMOBILE MEDICAL PAYMENTS COVERAGE
(Automobile Medical Payments coverage applies only if a premium amount is shown in the Policy Declarations
for "Medical Payments" coverage)
The DEFINITIONS under SECTION ll - PART I also apply to SECTION ll - FART V.
PAYMENTS WE WLL MAKE
Under Automobile Medical Payments coverage, the Company will pay all reasonable medically necessérry medical
benefifs incurred within one year of from the date of the accident for bodíly injury caused by an accident arising out of
the ownership, maintenance or use of a motor vehicle and sustainedby you or any relative while oceupying a motor
vehicle or while a pedestrian through being struck by a motor vehicle.
We will pay, subject to the coverage limit shown ln the policy declarations:
(a) The portion of any claim for Personal lnjury Protection medical benefits otherwise covered but not payable due to
    the coinsurance provision of Personai lnjury Protection. This is the twenty percent (20%) of medical benefifs not
    covered in SECTION II: PART I . PAYMENTS WE W¡LL MAKE , and
(b) Medically necessary medical benefits that exceed the Personal lnjury Protection medical þenefifs coverage paid
Payments we will make pursuant to paragraph (b) will be paid pursuant to the following schedule of maximum charges:
1. For emergency transport and treatment by providers licensed under Florida Statutes, chapter 4O1 ,20A percent of
     Medicare.
2    For emergency services and care provided by a hospital licensed under Floricia Statutes, chapter 395, 75 percent of
     the hospita¡'s usual and customary charges.
3.   For emergency services and care as deftned by Florida Staiutes, S 395.002 provided in a faciliiy licensed under
     chapter 395 rendered by a physician or dentist, and related hospital inpatient services rendered by a physician or
     dentist, the usual and customary charges in the community.
4"   For hospital inpatient services, other than emergency services and care, 200 percent of the Medicare Part A
     prospective payment applicable to the specific hospiial providing the inpatient services.
5.   For hospital outpatient services, other than emergency services and care, 200 percent of the Medicare Part A
     Ambulaiory Payment Classification for the specific hospitat providing the outpatient services.
6    For all other medical services, supplìes, and care, 200 percent of the allowable amount under:
     (1.) The participating physicians fee schedule of Medicare Part B. except as provided in sections (ll.) anci (lll.)
     (ll.) Medicare Part B, in the case of services, supplies, and care provided by ambulatory surgical centers and clin¡cal
           laboratories.
     (lli.)The Durable Medical Equipment Prosthetics/Orthotics and Supplies fee schedule of Medicare Part B, in the case
           of durable medical equipment.




 FLPIP (01-13) Page   I   of   1   1   Policy Number:
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 43 of 63


However, if such services, supplies, or care is not reimbursable under Medicare Part B (as provided in section (A) 6.
above), we will limit reimbursement to eighty percent (80%) of the maximum reimbursable allowance under workers'
compensation, as deterrnined under Florida Statutes, S 440.13 and rules adopted thereunder which are in effeci at the
time such services. supplies, or care is provided. Services, supplies, or care that is not reimbursable under Medicare or
workers' compensation ìs not required to be reimbursed by us.
The applicable fee schedule or påyment limitation under Medicare is the lee schedule or payment limitation in effect on
March 1 of the year in which the services, supplies, or care is rendered and for the area in which such services, supplies,
or care is rendered, and the applicable fee schedule or payment limitation applies throughout the remainder of that year,
notwithstandlng any subsequent change made to the fee schedule or payment limitation, except that it may not be less
than the alTowable amount under the applicable schedule of Medicare Part B for 2007 for medical services, suppties, and
care subject to Medicare Part B.
We may use the Medicare coding policies and payment methodologies of the federat Centers for Medicare and
Medicaid Services, including appticable modifiers, to determine the appropriate arnount of reimbursement for medical
services, supplies, or care.
A charge submitted by a provider, for an amsunt less than the amount atlowed above, shall be paid in the amount of the
charge submitted.
EXCLUSIONS
Automobile Medical Payments coverage does not apply:                                            t
1. Io you or any relatíve injured while occupying any motor vehicle owned by you or a relative and which is not an
    i ns u red-m ota r-v eh icl e under this insurance,
2. Ïo any person while operating the insured-motar-vehicle withoui you,- express or implied consent;
3. To any person, if such person's conduct contributed to his bodily injury under any of the following circumstances:
    (i) Causing bodily injury to himself intentionally;
    (ii) While committing a felony;
4- To any pedestrian, other than you or any relatíve',
5. To any person, other than you, it such person is the owner of a motor vehicle with respect to which security is
    required under the Ftorida Motor Vehicle No-Fault Law, as amended;
 6. To any person who sustains hodily injury while occupying a motor vehicle located for use as a residence or
     premises,
7.   To bodily injury sustained by you or a relative that results from war of any kind;
8.   Ta badíly injury sustained by you or a relative that results from exposure to fungi;
9.   To bodily injury sustained by you or a relative that results from:
     (i)   Nuclear reaction;
     {ii) Radiation or radioactive contamination from any source;
     (iii) The intentional or accidental detonaiion of, or release of radiation from any nuclear or radioactive device,
1 0. To bodily injury sustarned by yau or a relative while occup ying a motor vehicle , or while a pedestrian through
     being struck by a motor vehicle while being employed or engaged in the business of selling, leasing, repairing,
     parking, storing, servicing, delivering or testing vehicles.
11. To bodily iniury sustained by you or a relative caused by an auto driven in or preparing for any racing, speed or
     demolition contest or stunting activity of any nature, whether or not prearranged or organized.
LIMITs OF LIABILITY
Regardless of the numbei- of pei'sons insrrrecl, poiicies or bonds applicable, vehicles involved or claims made, the total
aggregate limit of Automobite Medical Payrnents benefits available from all sources combined, including this policy, for
all loss and expense incurred by or on behalf of any one person who sustains bodily injury as the result of any one
accident is the amount lìsted in the declarations page.
OTHER INSURANCE
Any amount available for payment under this insurance shall be reduced by the arnount of benefits an inlured person has
recovered for the same elements of ioss under the workers' cornpensation or other simiiar laws of any state or the
federal government.
lf benefits have been received under any similar coverage from any insurer for the same items of loss and expense for
which benefits are available under this policy, we shall not be liable to make duplicate payments to or for the benefit of
the injured person, but the insurer paying such benefits shall be entitled to recover from us its equitable pro rata share of
the benefits paid and expenses incurred in processing the claim. This coverage will coordinate with any applicable
Personal lnjury Proiection benefits bul will not duplicate any benefits available for payment. The coverage of the
occupied vehicle is prirnary.


FLPIP (01-13) Page   9of   1,1       Pol¡cy Number:
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 44 of 63


Any Uninsured Motorist Coverage or any excess Underinsured Motorist Coverage afforded by this policy shall be
excess over any Automobile Medical Payments benefits paid or available for payment or which would be available but
for the application of a deductible; and subject to the terms and conditions of the Uninsured/Underinsured Motorist
coverage. This coverage is excess over any other valid and collectible insurance provided with respect to the occupied
motar vehicle.
POLICY PERIOD . TERRITORY
The insurance under this Part applies only to accidents which occur during the policy period:
(a) ln the State of Florida; and
(b) We will cover you or any relative for injuries incurred while occøpying a motor vehicle or as a pedesfrÍan in an
     accident that occurs outside the state of Florida, but within the United States of America, its territories or
   possessions, or Canada.
CONDITIONS
1.   NOTTCE
     ln the event of an accìdent, written notice of the loss must be given to us or any of our authorized agents as soon
     as practicable. tf any injured person or his legal representatives shall institute legal action to recover damages for
     bodily injury against a thi¡d party, a copy of the summons and complaint or other process served in connection
     with such legal action shall be fon¡¡arded as soon as practicable to us by such injured person or his legal
     representative.
2.   PROOF OF CLAIM
     As soon as practicable the person making the claim shall give to us written proof of claim, under oath if required,
     whÌch may include full particulars of the nature and extent of the bodify injury and treatment received and
     contemplated, and such other information as may assist us in determining the amouni due and payable.
3.   INDEPENDENT MEDICAL EXAMINATIONS
-    Any person making a claim shall submit to mental or physical examinations at our expense when and as often as
     we may reasonably require and a copy of the medical report shall be forwarded to such person if requested. lf a
     person unreasonably refuses to submit to or faìls to appear at an examination, we are no longer liable for
     subsequent Automobile Medical Payment benefits. An msured's refusal to submit to, complete or failure to appear
     at two examinations will be considered unreasonable.
4.   PAYMENT OF CLAIM WITHHELD
     Whenever a person making a claim is charged with committing a felony, if such person's conduct contributed to
     lheir bodily injury, we shall withhold benefits until, at the trial level, the prosecution makes a formal entry on the
     record that it will not prosecute the case against the person, the charge is dismissed or the person is acquitted.
     We also have the right to determine if incurred charges and treatment are reasonable, medically necessary and
     causally related fo a bodily injury sustained in an accident. This determination may be made by use of utilization
     review, peer reviews, medical bill reviews or medical examination.
5.   EXAMTNATTON UNDER OATH (EUO)
     lf requested by us, you or a relative must submit to an examination under oath (EUO) by any person named by us
     when, where and as oftert as we may reasonably require. The scope of questioning during the examination under
     oath is limited to relevant information or information that could reasonably be expected to lead to relevant
     information. This provision includes providing a copy of any documents, forms, records or material requested to be
     provided as part of the EUO request whether the request is made before, during or after the EUO.
     Compliance with submitt¡ng to an EUO is condition precedent to receiving þenefits. lî you or a relative refuses to
     submii io or fails io appear at an EUO, we will not be liable for Automobite Medical Payments coverage
6.   ACTION AGAINST THE COMPANY
     No action shall lie against us:
     (a) Unless the insured has fully complied with all the policy s terms and condiiìons; and
     (b) Until 3û days after the required notice of accident and reasonable proof of claim has been filed with us, and
     (c) Unless we receive written notice of the intent to initiaie litigation and within 30 days after receipt of such notice
          we do not:
          (i) Pay the claim; or
          (ii) Mail to the person filing the notice a written statement of our agreement to pay for such treatment in
               accordance with the notice.
     Payment or our written statement of agreement to pay for treatment shall be treated as being made on the date a
     draft, or other valid instrument that is equivalent payment, or the written statement of agreement to pay, is placed
     Ìn the United States mail properly addressed posted envelope or if not so posted, on the date of delìvery.
     The wr¡tten notice of intent to initiate litigation must state that it is a demand letter for Automobile Medical
      Payments coverage and coniain the following information:

FLPIP (01-13) Page 10 of   11            Polrcy Number:
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 45 of 63



      (a) The name of the rnsured for whom benefits are betng sought including a copy of the assignment giving rights to
          the claimant if the claimant is not the insured;
      (b)The claim number and or policy number upon which the claim was originally submitted; and
      (c) To the extent applicable, the name of the medical provider who rendered the treatment, services,
           accommodations or supplies that form the basis of the clâ¡m, and each exact amount, the date of treatment,
           service or accommodation and the type of benefits claimed to be due. A health insurance claim form
           (CMS-1500) or UB 92 form or any other standard form approved by the Department of Financial
          Services, may be used as the itemized statement.
      The written notice must be delivered to us by United States Certified or Regisiered mail, Return Receipt Requested,
      at the address we have filed with and that is rnade available by the office of the Florida Chief Financial Ofiicer on its
      internet website.
      We will not be liable for interest, attorneys'fees, costs, or any additional penalty.
7.    SUBROGATION
      ln the event of payment to or for the benef¡ts of any injured person under this insurance the Company is subrogated
      to the rights of the person to whom or for whose benefit such payments were made to the extent of such payments.
      Such person shall execute and deliver the instruments and papers and do whatever else is necessary to secure such
      rights. Such person shall do nothing after loss to prejudice such rights.
      When an injured person has been paid by us and also recovers from another, the arnount recovered will be held by
      the injured person in trust for us and reimbursed to us to the extent of our payment. lf we are not reimbursed, we may
      pursue recovery of that amount directly against the injured person.
SECTION V. GENERAL CONDITIONS
The following condiiions are revised:
15. FRAUD AND MISREPRESENTATION
    Coverage is not provided to any person who conceals or misrepresents any material fact or circumstance
    relating to this insurance:
    1. At the time application is made; or
  . 2. At any time during the policy period; or
    3. ln connection with the presentation or settlement of a ctaim.

16. ËXAMTNATTON TJNDER OATH (EUO)
      Unless otherwise modified elsewhere in the poticy, if requested by us, an insured or omnibus insured must submit to
      an examination under oath (EUO) by any person named by us when, where and as often as we may reasonably
      require. This provision includes providing a copy of any documents, forms, records or material requested to be
      provided as part of the EUO request whether the request is made before, during or after the EUO.
      Compliance with submitting to an EUO is a condition precedent to recoiving benefits or coverage under this policy. lf
      an insured or omnibus insured refuses to submit to or fails to appear at an EUO, we will not be liable for benefits or
      coverage under this policy.


We affrrm this amendment.




                                                                                                             (




                 W-C. E. Robinson                                                             O.M. Nicely
                    Secretary                                                                  Fresident




FLPIP (01-13) Page 11 of   11                  Policy Number:
Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 46 of 63
            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 47 of 63



G¡EICcI                                                           Automobile Policy Amendrnent
                                                                  Emergency Road Senvice Coverage
Policy Nurnber

Your policy provisions are arnended as follows.
SECTION II¡
PHYSICAL DAMAGE COVERAGES
Emergency Road Service
We will pay reasonable expenses an insured incurs for the ou¡ned or non-owned auto, for:
1. mechanical labor up to one hour at the place of breakdown;
2. lockout services up to $100 per lockout if keys to the auto are lost, broken or accidentally locked in the auio;
3. if it wÌll not run, towing to the nearest repair facility where the necessary repairs can be made;
4. towing it out if it ¡s stuck on or immediately next to a pubtic highway,
5- delivery of gas, oil, loaned battery, or change of tire. WE ÐO NOT PAY FOR THE COST OF THE GAS, OtL,
   LOANED BATTERY, OR TIRE(S).
OBTAIN¡NG SERVICE UNDER THIS AMENDMENT
You may secure seruice under this amendment in the following manner:
SIGN AND DRIVE
The first method, called sign and drive, features a totl-free number in which the insured calls a GEICO Emergency Road
Service representative who witl dispatch a service vendor. Upon verification of Emergency Road Service (ËRS)
coverage, reasonable and necessary charges for covered services provided will be automatically billed to the Company
by the Service vendor. The insured need only sign a receipt at the time of service which authorizes the comp any to
directly pay the service vendor. Any additional mileage, other fees not specifically addressed above, or lockout services
in excess of $100 will be at the insured's expense.
HIRED SERVICES
The second method occurs when the insured does not use the sign and drive feature described aþove and hires services
without prior approval from the Emergenoy Road Service (ERS) Department. Upon verificaiion of Emergency Road
Service (ERS) coverage, for covered services provided, up to a limit of S50 will appty. Lockout services are limited to
$100. Requests for reimbursement must be accompanied by an original ¡tem¡zed receipt and must be submitted withrn 60
days of service.
There will be a limit of one reimbursement per disablement.
We affirm this arnendment.




                  W. C. E. Robinson                                                      O, M, Nicely
                      Secretary                                                           President




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Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 48 of 63
                    Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 49 of 63



      G¡EICcI                                                                   UNINSURED MOTORISTS COVERAGE
                                                                                NON.STACKED
      Policy Number:                                                            FLORIDA



      Section lV ol your policy is replaced by the following:
      DEFINITIONS
      The definitions of terms for Section t apply to Section lV, except for the following special definitions:
      1. Hit-and-run vehicle means a motor vehicle causing bodily injury lo an insured with or without physical contact with
         him or with a vehicle he is occupying at the time of the accident and whose operator or owner cannot be identified;
         provided the ínssred or someone on his behalf:
         (a) Reports the accident as soon as practicable to a police, peace or judicial officer or to the Commissioner of Motor
                 Vehicles,
           (b) Files with us as soon as practicable
                                                 a statement setting forth the facts of the accident and claiming that he has a
              cause of action for damages against an unidentified person.
      2.   lnsured means:
           la) You;
           (b) Your relatives,
           (c) Any other person whlle occupying an insured auto;
           (d) Any person who is entitled to recover damages because of bodily injury sustained by an insured under (a),             (b),
                 and (c) above.
           lf there is more than one insured, our limits of liability will not be increased.
      3.   tnsured aufo is an auto:
           (a) Described in the declarations and covered by the Bodity lnjury Liabiliiy coverage of this policy;
           (b) Temporarily substituted for an insured auto when withdrawn from normal use because of its breakdown,repair,
                 servicing, loss or destruction;
           (c) Operated by you or your spouse if a resident of the same household.
           But the term insured auúo does not include:
           (i) An insured âuto when used to oarry passengers or goods for hire, except in a car-poot;
           (ii) An auto being used without the owner's permission, or
           (lll) Under subparagraphs (b) and (o) above, an auto owned by or avallable for the regular use of an lnsured-
      4.   Occupying means in, upon, eniering into or alighting from-
      5.   Súaúe includes the District of Columbia, the territories and possessions of the United States, and the Provinces of
           Canada.
      6.   Uninsured auto is an auto.
           (a) Which has   no tiability bond or insurance poticy applicable with liabiliÇ timits complying with the Financial
               Responsibility Law of the sfafe in which the insured auto is principally garaged at the time of the accident, or
           (b) For which the totat of all bodily injury liability insurance available in the event of an accident is ìess than the
               damages sustained in an accident by an insured; or
           (c) A fiiú-and-run vehicle.
           (d) This term also includes an auto whose insurer is or becomes insolvent or denies coverage.
           The term uninsured aufo does not includer
           (a) An insured auta;
           (b) A land motor vehicle or trailer operated on rails or crawler treads or located for use as a residence or   premises,
                 and
           (c)   A farm-type tractor or equipmenf designed lor use principally off public roads, except while used upon public
                 roads.




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            Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 50 of 63



LOSSES WE PAY
Under the Uninsured Motorists coverage we will pay damages lor bodily injury, sustained by an insured, caused by
accident which the insured is legally entitled to recover frorn the owner or operator of an unins ured auto arising out of
the ownership, maintenance or use of that auto.
EXCLUSTONS
Section lV Does Not Apply:
1. Iabodìlyinjury toaninsuredif the insured orhislegal representativehasmadeasettlementorhasbeenawarded
     a judgment of his claim without our prior written consent and such settlement prejudices our right to recover-
2.   To bodily injury to an rnsured while occupying or when struck by any motor vehicle or motorcycle owned by an
     insured ar a relative, which is not insured under the Liability Coverages section of this policy.
3.   To Þodrly injury to a person not an insured.
4.   To benefit any workmen's compensation insurer, self insurer, or disability benefits insurer.
5.   To the united States of America or any of its agencies as an insured, a third party benefìciary or otherwise.
6.   To any damages for pain and suffering that the însured may be legally entitled to recover against an uninsured
     motorist unless the injury or disease caused by the uninsured motorist accident resulted in:
     (a) Significant and permanent loss of an imporiant bodity function; or
     (b) Permanent inlury within a reasonable degree of medical probability, other than soarring or disfigurernent; or
     (c) Significant and permanent scarring or disfigurement; or
     (d) Death.
7.   To punitive or exemplary damages, regardless of any other provision of this policy.
8.   To any liability assumed under any contract or agreement.
9.   To damage caused by the insured in participation in andior preparation for any racing, speed or demoliiJon contest or
     stunting activity of any nature, whether prearranged or organized.
LIMITS OF LIABILITY
The limit of liability for Uninsured Motorists coverage stated in lhe declarations as applicable to "each person" is the limit
of our liability for all damages, including those for care or loss of services, due to bodily injury sustained by one person
as the result of one accident. The limit of liability stated in the declarations as applicable to "each accidenf is, subject to
the above provision respecting each person, the total timit of our liability for all such damages, including damages for
care and loss of services, because of bodily injury sustained by two or more persons as the result of one accident.
These limits are the maximum we will pay for any one accident regardless of the number of claims made, Uninsured
Motorists coverage premiums paid, vehicles or persons stated in the declarations, or vehicles involved in the accident.
Subject to the above-
1. When coverâge is afforded to two or more autos, the limits of liability shall apply separately to each auto as slated in
   the declarations.
2. lf at the time of the accident the injured person is occupying an auto insured by us, the amount of coverage available
   to the injured person is the limit specified in the declarations for the occupied vehicle.
3. lf at the time of the accident the inlured person is occupying a motor vehicle which is not owned by him or by a
   family member residing with him, he is entitled to the highest limits of Uninsured Motorists coverage afforded for any
   one vehicle as to which he is ihe named insured or insured family member. Such coverage shall be excess over
   the coverage on the vehicle he is occupying.
4. lf at the time of the accident the injured person is not occupying a motor vehicle, he is entitled to select any one limìt
   of Uninsured Motorists coverage for any one vehicle afforded by a policy under which he is insured as a named
   insured or as a relative.
   lf separate non-stacked policies with us are in effect for you or any person tn yaur household, they may not be
   combined to increase the limit of liability for a ioss.
   lf separate stacked policies with u$ are in effect, the stacked policies may be combined to increase the limìt of liability
   for you or your relatives.
5. The limit of liability for Uninsured Motorists ã)verage shall be over and above, but shall not duplicate ihe benefits
   available to an insured under any:
     (a) Workers' compensation law;
     (b) Personal injury protection benefits;




4239   (02-13)   Page 2   of4
                   Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 51 of 63



           (c) Disability benefits law or similar law; or
           (d) Automobile medicat expense coverage.
      6.   The limit of liability for Uninsured Molorists coverage shall be over and above, but shall not duplicate any amount paid
          or payable:
          (a) Under any motor vehicle liability insurance coverages; or
          (b) By or on behalf of the owner or operator of the uninsured motor vehicle or any other person or organization
               jointly or severally liable together with such owner or operator for the accident.
      OTHER INSURANCE
      Coverage provided by this section is intended to be excess over and above any other valid and collectable liability
      coverage.
      When an ínsured occupies an auto not described in this policy, and not owned by that insured or a relaúíve, this
      insurance is excess over any other sÌmilar insurance available to the ínsured and the insurance which applies to the
      accupied auto is primary.
      lf the ,nsøred has other insurance against a loss covered by the Uninsured Motorists provisions of this policy, we will not
      be liable for more than our pro-rata share of the total coverage available.
      DISPUTES SETWEEN US ANÐ AN
      1 . Disputes between an insured and us as to damages may be submitted to arbitration. Arbitration must be agreed to in
                                         'Â'SURED
         writlng between the lnsured and us.
         lf arbitration is agreed upon, each party shalt select an impartial arbitrator. These arþitrators shall select a third one.
         The cost of the arbitration and any expenses for experts shall be paid by the party who hired them. The cost of the
         third arbitrator shall be paid equally by the parties.
      2. lf the insured and we cannot agree to arbitrate or agree to a third arbitrator, the Ínsured shall:
           (a) Suetheownerordriverofthe uninsuredauto andusinacourtof competent¡urisdiction. lftheowneror
                driver is unknown, name us as the defendant.
           (b) When suit    Ís filed, immediately give us copies of the suit papers.
      3.   lf the insured agrees io settle with another insurer, the insured must submit to us in writing by certifìed or registered
           mail a copy of the proposed settlement
      4.   lf within 30 days after receipt of the proposed settlement agreement, we do not:
           (a) Approve the proposed settlement and the signing     of the full release
           (b) Waive our subrogation rights; and
           (c) Agree to arbitrate the claim,
           the insured shall then file suit againsi us and the person(s) legatly liable.
           The insured may not dismiss a defendant from such lawsuit without our prior written consent.
      5.   Any award against us shall be binding and conclusive against us and the inssred up to our coverage limit.
      TRUST AGREEMENT
      Whenever we m\ake a payment under this coverage.
      1. We will be entitled to repayment of that amount out of any settlement or judgment the insured recovers from any
         person or organization legatly responsiÞle for the bodily ínjury.
      2. The insured will holdintrustforourbenefitatl rightsof recoverywhichhemayhaveagainstanypersonor
         organization responsible for these damages. He will do whatever is necessary to secure all rights of recovery and will
         do nothing after the loss to prejudice these rights.
      3. At our written request, the insured, in his own name, will take mrough a designated representative appropriate
         actions necessary to recover payment for damages from the legally responsiÞle person or organ¡zation. The insured
         will pay us out of the recovery for our expenses, costs and attorney's fees.
      4. The insured will execute and furnish us with any needed documents to secure his and our rights and obligations.
      CONDITIONS
      The following conditions apply only to the Uninsured Motorists coverage. We will have no duty to provide coverage
      under this policy, and suit will not lie against us unless the insured or his legaÌ representative have fully complied with all
      the policy terms and conditìons below:
      1.   NOTTCE
           As soon as possible after an accident, notice must be given us or our authorized agent stating:
           (a) The identity of the insured.
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      4239 (02-1   3)   Pase 3 of 4
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              Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 52 of 63


  (b) The time, place and details of the accident; and
  (c) The names and addresses of the injured, and of any witnesses.
   lf the insured or his legal representative files suit before we make a settlement under this coverage, he must
   immediately prov¡de us with a copy of the pleadings.
2. ASSISTANCE AND COOPERATION OF THE
   After we receive notice of a claim, we may require''VSUREÐ
                                                         the insured to take any action necessary to preserve his
   recovery rights against any allegedly legally responsible person or organization. We may require the insured to
   make that person or organization a defendant in any action agaínst us. The insured must cooperate with other
   reasonable requests for information or assistance made by us. The insured may not agree to dismiss any
   allegedly legally responsible person(s) or organization(s) from any action without our prior written agreement.
3. PROOF OF CLAIM
   lf requested by us, an insured rnust:
   (a) EXAMINATION UNDER OATH (EUo)
        Submit to examination under oath by any person named by us when, where and as often as we may reasonably
        require. This provision includes providing a copy of any documents, forms, records or material requested to be
        provided as part of the EUO request whether the request for this information is made before, during or after the
        EUO.
  (b)   TNDEPENDENT MEDTCAL OR MENTAL EXAMTNATTON
        Submit to examination by doctors, or other heatth care providers chosen by us, at our expense, where and as
        often as we may reasonably require. The scope of the examination(s) may be as broad as we may reasonably
        require, including but not limited to physical and mental examinations.
   (c) DOCUMENT REQUEST
        Timely comply with all requests for information made by us including but not limited to requests for medical,
        employment, educational, financial and other pertinent records. lf reguested by us, the insured must provide
        written authorization, in a form acceptable to us, to obtain information and documents requested under this
        paragraph. ln the event of the insured's incapaciiy or death, his representative must comply with this
        paragraph.
4. ACTION AGA1NST US
   Suit will not lie against us unless the insured or his legal representative have fully complied with all the policy terms
5. PAYMËNT OF LOSS
   Any amount due is payable:
   {a) To the insured or his authorized representaiive;
   (b) lf the insøred is a minor, to his parent or guardian, or
   (c) lf the insured is deceased, to his surviving spouse; otherwise
   (d) To a person authorized by law to receive the payment, or to a person legally entitled to recover payment for the
        damages.
   We may, at our option, pay an amount due in accordance with (d) above.



We affirm this amendment.




             W C. E. Robinson                                                             O. M. Nicely
                  Secretary                                                               President




4239 (02-1   3)   Page 4 of 4
              Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 53 of 63



G¡EIGCI                                                               Automobile Poliay Endorsement
                                                                      Rental Reimbursement Endorsement
Policy Number:

We agree with you that the policy is amended as follows:
SECT]ON III - PI-IYSICAL DAMAGE COVERAGES
The foltowing coverage is added:
    Coverage-Renta I Reimb ursernent
When there is a loss to an ou¡ned aufo for which a specific premium charge indicates that rental reimbursement
coverage is afforded:
We will reimburse the insøred toward costs the insured incurs to rent an auto. Reimbursement wilt not exceed the limits
described in the declarations and payment will be limited to a reasonable and necessary period of iime required to repair
or replace the owned ¿uto. This coverage appties only if:
     1. The owned auto is withdrawn from use for more than 24 consecutive hours, and
     2. The loss to the ou¡ned aufo is covered under comprehensive or collision coverage of this policy,
When there is a total theft of the entire auto, we will reimburse the insured toward costs the ínsured incurs to rent an
auto, subject to the following limiiations:
     1. This coverage will reimburse the insured for reasonable rental expenses beginning 48 hours after a theft of the
         entire vehicle covered under the comprehensive coverage of this policy; and
     2. This coverage may be used to reimburse reasonable rental expenses in excess of those provided by Section lll
         of the policy if and to the extent the coverage limits under rental reimbursement exceed those provided in
         Section lll of the policy. ln that event, the amount payable under this endorsement is the amount by which this
         coverage exceeds those described in Section llt of the policy; and
     3. Subject to number 2 above, in no event shall the total amount payable under both this coverage and the
         supplemental coverage in Section lll of the policy exceed the daily limit of coverage provided by this endorsement.
Reimbursement for rental charges shall end the earliest of when the owned auto has been:
    1. Returned to you; or
    2. Repaired, or
    3. Replaced;or
    4. Deemed a total loss by us:
          (a) Seventy-two (72) hours after we pay the applicable limit of liability under Section lll; or
          (b) Seventy-two (72) trc¡urs after our initial settlement offer;
      whichever comes first.
However, when there is a total theft of an owned aufo, reimbursement for rental charges shall end the earliest of:
   1. The date the auto is returned to use if the vehicle is recovered before payrnent of the total theft claim to you or
       the owner of the vehicte; or if the vehicle is not recovered,
    2. Seventy-two (72) hours after our initial settlement offer of the acfrral casl¡ value oî the on¡ned auto.
    3. Seventy-two (72) hours after the failure to provide either a proof of loss or recorded statement if requested by us.
No deduciible appties to this coverage.
CONDITIONS
ln the case of theft of the entire auto, the insured must promptly notify the police that the vehicle was stolen. To be
eligible as a covered loss, the police report must acknowledge and classify the report as thefi of a motor vehicle. The
insured must cooperate fully: with the policy investigation, with the prosecution of any person(s) charged with theft and
any civil suit brought by us against the person(s) responsible to recover for the loss.
The coverage provided by this endorsement is subject to all the provisions and conditions of SECTION tll of the policy.
The COMPANY affirms this endorsement.
                                                                                                            ç




                          W. C. E. Robinson                                               O. M. Nicely
                              Secretary                                                    President
A431   (05-1 1)
Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17
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                                                      Page 54 of 63
                 Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 55 of 63




                                                                  ENDORSEMENT

                                                           LOSS PAYABLE CLAUSE
               The Policy Number and Effective Date need be completed only when this endorsement is issued subsequent to preparalion of the policy

                                                                                             Policy Number:
                                                                                             Effective Date:

      Any covered loss under the Physical Damage Coverages of the policy will þe paid jointly to the insured and the
      Lienholder in the Declarations. We may settle a claim at our opt¡on by separate payment to the insured and the
      Lienholder. The Lienholder's interest wilt not be protected:

          1. When fraud, misrepresentation,          material omission, or intentional damage has knowingly been committed by or at
               the direction of any insured, or

          2.   ln any case of conversion, embezzlement, secretion, or intentional damage to the vehicle(s) by or at the direction
               of any insured, or any owner of the vehicle(s); or

          3.   For any loss or damage caused by, or reasonably expected to result from, a criminal act or omission of any
               insured or any owner of the vehicle(s).

      The Lienholder has no greate¡ rights under the provisions of the policy than any insured.

      The Lienholder must notify us if they become aware of any increased hazard or change of ownership of the vehicle(s) or
      they will lose all rights under this policy.

      lf any insured fails to file with us a Froof of Loss within 91 days after the loss, the Lienholder must do so within the
      following 60 days.

      Whenever we pay the Lienholder, we shall be subrogated to the Lienholder's rights of recovery to the extent of our
      payment to the Lienholder. lf the policy is in effect as to the Lienholder but has been canceled as to any insured, the
      Lienholder must assign the loan to us to the extent of our payment, if we ask.

      We will provide notice to the Lienholder at least 10 days before we cancel their interest in the po¡¡cy                 .




      This endorsement forms a part of your policy. lt is effective at 12.M A.M. local time                at   yoør address on the effective
      date shown above.




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Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 56 of 63
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 57 of 63




                                             TMPORTANT NOITCE
                            FEE SCHEDULE ENDORSEMENT
       USE OF MEDICAL FEE SCHEDULE FOR PERSONAL INJURY PROTECTION CLAIMS
        THIS NOTICE IS ENCLOSED IN COMPLIANCE WITH FLORIDA STATUTE 627.736
                                             Effective January 1, 2A13

The Company will limit reimbursement of medical expenses to 80 percent of a properly billed
reasonable charge, but in no event will the Company pay more than 80 percent of the following
schedule of maximum charges;
    1.    For emergency transport and treatment by providers licensed under Chapter 401, Florida
          Statutes, 200 percent of Medicare.
   2.     For emergency services and care provided by a hospital licensed under Chapter 395, Florida
          Statutes, 75 percent of the hospital's usual and customary charges.
    3.    For emergency services and care as defined by Florida Statutes S 395.002 provided in a
          facility licensed under Chapter 395, Florida Statutes rendered by a physician or deniist, and
          related hospital inpatient services rendered by a physician or dentist, the usual and
          customary charges in the community.
    4.    For hospital inpatient services, other than emergency services and care, 200 percent of the
          Medícare Pad A prospective payment appticable to the specific hospital providing the
          inpatient services.
    5.    For hospital outpatieni services, other than emergenÕy services and care, 200 percent of the
          Medicare Part A Ambulatory Payment Classification for the specific hospital providing the
          outpatient services.
    6.    For all other medical services, supplies, and care, 200 percent of the allowable amount
          under:
           (t.) The participating physicians fee schedule of Medicare Part B, except as provided   in
               sections (lt.) and (lll.)
           (ll.) Medicare Part B, in the case of services, supplies, and care provided by ambulaiory
                 surgical centers and clinical laboratories.
           (llt.)The Durable Medical Equipment ProstheticslOrthotics and Supplies fee schedule of
                 Medicare Part B, in the case of durable rnedical equipment.
           However, if such services, supplies, or care is not reimbursable under Medicare Part B (as
           provided in section 6. above), we will limit reimbursement to eighty percent (80%) of the
           maximum rermbursable allowance under workers' compensation, as determined under
           Florida Statutes, 9440.13 and rules adopted thereunderwhich are in etfect at the time such
           services, supplies, or care is provided. Services, supplies, or care that is not reimbursable
           under Medicare or workers' compensation is not required to be reimbursed by us.




M608 (01-13)                               Policy Number:
           Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 58 of 63


The applicable fee schedule or payment limitation under Medicare is the fee schedule or payment
limitation in effect on March 1 of the year in which the services, supplies, or care is rendered and for
the area in which such services, supplies, or care is rendered, and the applicable fee schedule or
payment limitation applies throughout the remainder of that year, notwithstanding any subsequent
change made to the fee schedule or payment limitation, except that it may not be less than the
allowable amount under the applicable schedule of Medicare Pari B for 2007 for medical services,
supplies, and care subject to Medicare Part B.

Personal lnjury Protection Coverage is subject to the terms, conditions and exclusions in your policy
Please read your policy carefully.




M608 (01-13)                         Po¡icy Numþer:
Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 59 of 63




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Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 60 of 63




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Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 61 of 63




                      EXHIBIT (CC))
               Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 62 of 63




Filing Number:          337138
Filing Accepted:        31912017

     Warningl lnformatìon submitted as part of this civit remedy notice is a pu'oiic record. Data entered into
     this form will be displayed on the DFS websìte for public reviow. Please DO NOT enter Social Securrity
     Numbers, personal mecjical ìnformation, personal financial information or any other information you do not
     want available for public review.

g    The submitter hereby states that this notice is given in order to perfect the rights of the person(s)
     damaged to pursue civil remedies authorized by Section 624.155, Florida Statutes.



Name:                    LIONEL LEONARD
Street Address:          POST OFFICE BOX 12181
city, state zip:         TALLAHASSEË, FL 32317
Ernail Address:
Complainant Type         lnsured



Name:                     I-¡ONEL LEONARD
Poticy #:                 0176589604
Ctaim #:                 001 728579-01 0't   -529




 Name:                    MATTHEW K FOSTÊR
Street Address:           909 EA,ST PA,RK AVENUE
Gity, State Zip:          TALLA.HASSEE,       FL    32301
EmailAddress:             MATT@TALLAHASSEEA,TTORNEyS.COM




    Type:
 insurer                  Jruthorized lnsurei
 Name:                    GEICO GENÉRAL INSURANC= COMPAN\í
 Street Adoress:
 City, 5¡"1* ¿,o,

 Please identify the person or persons representing tne insurer who are mosi responsibie for/knowledgeable of the
facts givrng rise to the allegations in this notice.
WALTER DUNN


 Type of    lnsurance;    Auto

DFS-10-363
Rev. 11/2007
                     Case 4:17-cv-00285-MW-CAS Document 1-3 Filed 06/23/17 Page 63 of 63




Filing   Number:              337138



Reasons for Notice:
               U   nsatisfactory Settlement Offer
               Cfaim Delay
               Not treating policyholders with good faith claims conduct
               Looking for ways to delay full recovery to insureds

PURSUANT TO SECTION 624.155, F.S. please indicate all statutory provisions alleged to have been violated.
               624.155(f   XbX1) Not attempting in good faith to settle claims when, under allthe circumstances,
                                 it could and should have done so, had it acted fairly and honestly toward its
                                 insured and with due regard for her or his interests.
               626.9541(1X¡X3Xd) Denying claims without conducting reasonable investigations based upon
                                 available information.

Reference to specific poiicy language that is relevant to the violation, if any. lf the person bringing the civil action is a
thirr.i party claimant, she or he shall not be reguired to reference
                                                                   ihe speciíic poiicy ianguage iiihe authorizeci insurer
has not provided a copy of the policy to the third party ciaimant pursuant to written request.

N/A


To enable the insurer to investigate and resolve your clairn, describe the facts and circumstances giving rise to the
insurer's violaiion as you understand them at this time.
Mr, Leonard was injurod in an automobile accident on 21211't5. The bodily iniury carrier tendered their
policy limits of $10.000.00. My Tyler's injuries far exceed the Bl limits, as his treatment inclucies a shoulder
surgery. A claim i demand package for UIM benefiis was sent to GEICO on February 24,2A17, On March 6,
2017, adjuster Walter Dunn responded to the demand stating he would not make a settlement offer untit he
ha d the ong nal MRI iilm read by n "i nde pen cient" doctor F u rther M D u nn alleges th at Mr Leonard did
not com plai n of sh ou d er pal n until 7 .8 mo nths p ost-acciden wh ich IS entirely u ntru The me d ical reco rds
that were provr ded to adjuster Walter Ð u nn document that M Leonard began compl arnrng of sh oulder pa tn
TI.IRFE DAY Þ after the acct dent. GE¡ o h 4> not made ãn\/ ç ettiement offe r and ts ciearly iook lnd lnr ways
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